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                          Attachment A
PHMSA’s Facility Response Plan Confidential Information Policy
                       (Jul. 21, 2017)
        Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 2 of 109




U.S. Department                                                            1200 New Jersey Avenue, S.E.
of Transportation                                                               Washington, D.C. 20590
Pipeline and Hazardous
Materials Safety Administration


July 21, 2017

The Honorable Ann O’Reilly
Administrative Law Judge
Office of Administrative Hearings
600 North Robert Street
P.O. Box 64620
St. Paul, MN 55164-0629

Re:    PHMSA’s Protection of Worst Case Discharge Information

Dear Judge O’Reilly:

In response to a request from Enbridge Energy, Limited Partnership (Enbridge), the Pipeline and
Hazardous Materials Safety Administration’s (PHMSA) Office of Pipeline Safety (OPS) is
providing information in the legal proceeding concerning Enbridge’s Line 3 Replacement Project
regarding PHMSA’s protection of Worst Case Discharge information for security reasons.
Enbridge submitted its request for testimony to PHMSA under 49 C.F.R. § 9.15. The information
in question in this proceeding, if provided to PHMSA’s Office of Pipeline Safety, would be
protected from public release for reasons stated herein.

PHMSA’s Oil Spill Preparedness and Emergency Support Division in OPS reviews and/or
approves oil spill response plans required under the Federal Water Pollution Control Act, as
amended by the Oil Pollution Act of 1990. When an oil spill response plan is requested under
the Freedom of Information Act (FOIA), or PHMSA otherwise identifies a need to publicly
disclose a plan, PHMSA redacts sensitive information prior to public disclosure.

PHMSA protects particular pieces of information in oil spill response plans and other pipeline
records to prevent adversaries from using the information to target and damage or destroy
pipeline critical infrastructure. A specific set of information that PHMSA protects is Worst Case
Discharge volume and location, and corresponding derivative information (i.e. spill modeling
data) that could be used to rank desirable targets. Worst Case Discharge is defined by the
pipeline safety regulations in 49 C.F.R. § 194.5 as the largest foreseeable discharge of oil,
including a discharge from fire or explosion, in adverse weather conditions. This volume will be
determined by each pipeline operator for each response zone and is calculated according to 49
C.F.R. § 194.105. Spill modeling data is utilized to calculate Worst Case Discharge by
determining which line section and/or location would lead to the largest foreseeable discharge of
oil.

49 U.S.C. § 60138(a)(2) provides that the Secretary of Transportation may, as she determines to
be appropriate, exclude four categories of information from oil spill response plans. The statute
specifies amount and location of worst case discharges (as defined in part 194 of title 49, Code of

                                                                                                     1
        Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 3 of 109


Federal Regulations), including the process by which an owner or operator determines the worst
case discharge, as one of the four categories. Therefore, when publicly releasing an oil spill
response plan, PHMSA redacts Worst Case Discharge information under 49 U.S.C. § 60138; 5
U.S.C. § 552(b)(3), which allows for the withholding of information “specifically exempted from
disclosure by statute,” and 5 U.S.C. § 552(b)(7)(F), which allows for the withholding of “records or
information compiled for law enforcement purposes” if the release of such information “could
reasonably be expected to endanger the life or physical safety of any individual.” In addition to
protecting Worst Case Discharge information, PHMSA also redacts security-sensitive
information such as Control System Information, Facility Schematics, Security Plans, and Cyber
Security information protected under 49 U.S.C. § 60138(a)(2) in oil spill response plans.
PHMSA protects this information and Worst Case Discharge information under 5 U.S.C. §
552(b)(7)(F) when the information is contained in other pipeline records.

We have attached PHMSA’s policy for redactions under 49 U.S.C. § 60138 (a)(2) for your
reference. PHMSA has posted the policy on its web site at
https://www.phmsa.dot.gov/staticfiles/PHMSA/DownloadableFiles/Facility%20Response%20Pl
an%20Policy%20-%206-25.pdf .

If you have any questions concerning this letter, please contact Nathan Schoenkin, Emergency
Support and Security Specialist, at 202-366-4774, Nathan.Schoenkin@dot.gov or David
Lehman, Director of Oil Spill Preparedness and Emergency Support Division, at 202-366-4439
or David.Lehman@dot.gov .

Sincerely,

Alan K. Mayberry
Associate Administrator for Pipeline Safety
ALAN K          Digitally signed by ALAN K MAYBERRY
                DN: c=US, o=U.S. Government, ou=DOT
                Headquarters, ou=PHMSAHQ, cn=ALAN

MAYBERRY        K MAYBERRY
                Date: 2017.07.21 09:14:39 -04'00'




CC: Christina K. Brusven, Fredrikson & Byron, P.A.
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 4 of 109
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Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 10 of 109




                         Attachment B
               PA PUC Right-to-Know Denial
                     (Mar. 11, 2019)
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 11 of 109
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 12 of 109
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 13 of 109
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 14 of 109




                         Attachment C
                  Affidavit of Paul J. Metro
                       (Apr. 15, 2019)
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 15 of 109
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 16 of 109
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 17 of 109
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 18 of 109




                         Attachment D
Letter to PHMSA from Sunoco Submitting the Stantec Report
                     (Jul. 6, 2018)
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 19 of 109
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 20 of 109




                         Attachment E
Letter to PHMSA from Sunoco Submitting the Stantec Report
                     (Nov. 2, 2018)
       Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 21 of 109



                                                                                    4041 Market Street
                                                                                      Aston, PA 19014


Pennsylvania Public Utility Commission
Gas Safety Division
Attn: Mr. Robert Horensky, Mr. Paul Metro, Mr. Michael Swindler
Commonwealth Keystone Building
Harrisburg, PA, 17105-3265

US Department of Transportation
Pipeline and Hazardous Materials Safety Administration
PHMSA Eastern Region
820 Bear Tavern Road, Suite 103
West Trenton, NJ 08628
Attn: Mr. Joe Klesin, Mr. Barry Small, Mr. Rob Burrough, Mr. Steve Nanney


November 2, 2018

RE:     PHMSA and PUC Inspection Meeting 10/10-11/2018 Data Request
        PTBR-MNTL 12 (GRE) Product Change and Flow Reversal Inspection

        This letter and attachments referenced and transmitted as supporting documents are provided in
response to the information request for documents, data, maps and records files submitted as part of the
Sunoco Pipeline L.P. (SPLP) reply to the subject PA PUC Data Request. PHMSA and PUC conducted an
inspection of the PTBR-MNTL 12 Inch Pipeline Product Change and Flow Reversal on October 10 and
11, 2018. This submittal is in response to the data request submitted as a handwritten request for
information at the inspection conclusion.

        As described below, the information, responses and documents (collectively the “Production”),
regardless of form or format, is provided conditioned upon the Production being treated according to
available and applicable federal and state confidentiality, proprietary, and infrastructure security
treatments and procedures as specified below.

         As to the Production to the Pipeline and Hazardous Materials Safety Administration (“PHMSA”),
pursuant to 49 CFR §105.30, SPLP contends that the information contained in the enclosed documents
(referenced above) being provided in electronic data file copy via USB Flash Drive, and other similar
information that may be provided by ET/SPLP in the future are confidential and proprietary. We are not
sending a second copy of the original with the confidential information deleted in accordance with
paragraph (2) of Section 105.30 because we consider all of the information in the attached to be
confidential. The attached data file is being submitted at PHMSA’s request but subject to ET/SPLP’s
request for confidential treatment under 5 U.S.C. 552(b)(4) as incorporated by reference in and modified
by the statute and/or regulation under which the information is being submitted. This letter is based on
knowledge, information and reasonable belief that the attached information is not known to have been
disclosed or become available outside ET/SPLP or related entities in the format or to the extent provided
in the attached. Accordingly, we have marked the attached materials “Proprietary and Confidential
Information” in bold font in the attached and will follow a similar procedure going forward, where it is
deemed appropriate.
       Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 22 of 109



                                                                                        4041 Market St
                                                                                 Aston, PA 19014-3197

PHMSA and PUC Inspection Meeting 10/10-11/2018 Data Request

         As to the Production to the Pennsylvania Public Utility Commission (“PaPUC”), SPLP has
marked in bold font in the attached, and hereby notifies, and requests treatment of the Production as
confidential and proprietary as (1) Confidential Security Information not subject to disclosure to third
parties under the provisions and procedures specified in the ‘The Public Utility Confidential Security
Information Disclosure Protection Act’ (35 P.S. §§2141.1 to 2141.6) and the PUC’s regulations
implementing such Act at 52 Pa.Code §§102.1 -102.4, and (2) that in addition no disclosure of the
Production shall occur by the PaPUC’s investigators who receive the Production without allowing ET /
SPLP to obtain a Protective Agreement, from the bureau or bureaus functioning as the PaPUC’s
investigators, in the form and content that the Bureau of Investigation and Enforcement commonly signs
with public utilities regarding confidential and proprietary information where there is no Protective
Order in place.

         Due to some of the data requested being related to CIS Survey that was being conducted, lab
testing that is being conducted and paper record archival search which is ongoing, , SPLP respectfully
requests additional time until 11/16/2018 to provide the data requested for Items 2 c.), 3, 9 and 11.

       We appreciate your consideration of this request to maintain confidentiality. Please let us know if
you require further information from us or would like to discuss this further.




Respectfully Submitted,




Albert Kravatz
Sr. Specialist, Regulatory Compliance




cc:     T. Nardozzi, D. Nichols, J. Perez; C. Stambaugh, T. Sniscak, C. Lason, C, Sonneborn,
        J. Street, G. McIlwain, J. Legge, R. Smith, J. Shuler, L. Jensen




                           Proprietary and Confidential Information
 Confidential Security lnformation not subject to Disclosure to third parties under the provisions
 and procedures specified in the 'The Public Utility Confidential Security Information Disclosure
 Protection Act' (35 P.S. §§ 2141.1 to 2141.6) and the PUC's regulations implementing such Act al
                                     52 Pa. Code §§ I 02.1 -I 02.4.

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                         Attachment F
Email to PHMSA from Troutman Sanders on behalf of Sunoco
                    (Jun. 5, 2019)
                      Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 24 of 109

Christian, Donna T.




From:                              Little, Catherine D.
Sent:                              Wednesday, June 5, 2019 6:03 PM
To:                                Agboola, Ajoke (PHMSA); Pittman, Forrest (PHMSA)
Cc:                                Cook, Annie
Subject:                           RE: CPF 1-2019-5006
Attachments:                       CONFIDENTIAL CPF 1-2019-5006 NOPV PCO (SSI Highlighted).pdf




Ajoke and Forrest,

Thank you for the call yesterday and your email this afternoon regarding the above referenced matter.
Attached please find the Notice of Probable Violation (NOPV) issued by PHMSA and received on May 20,
2019 that quotes directly from material that Sunoco Pipeline, L.P. (Sunoco or SPLP) submitted to the Agency
clearly and expressly marked as “Proprietary and Confidential Information” and “Confidential Security
Information not subject to Disclosure.” Sunoco considers this information to be proprietary generally, but most
importantly for Freedom of Information Act (FOIA) purposes, the Company believes that it is protected from
public disclosure under FOIA as sensitive homeland security information pursuant to 5 U.S.C. § 552(b)(7)
(referred to generally as FOIA Exemption 7).

Courts have consistently applied FOIA exemption 7 to protect this type of information for homeland security
purposes. Along those lines, the dispersion analysis information that is expressly quoted is in line with
information that PHMSA usually redacts from Facility Response Plans, such as worst case discharge
information. For those reasons, and in order to further focus the Agency’s review of this information, the
attached copy of the NOPV highlights the relevant portions of the analysis and spill modeling (on pp. 4 and 5)
that should be protected from public disclosure under FOIA. Specifically, and as we discussed, Sunoco
requests that the highlighted information be redacted from the NOPV or that the NOPV be revised or reissued
without reference to that information due to national security concerns with having that information in the public
domain.

In addition, Sunoco requested the Pipeline Safety Violation Report (PSVR) in this matter on May 31, 2019, but
has not yet received it. To the extent that the PSVR quotes the dispersion analyses or attaches portions of
them as exhibits, on behalf of Sunoco, we request that information be redacted as well in the event that it is the
subject of a FOIA request.

We look forward to hearing from you.


Catherine D. Little
troutman sanders
Direct: 404.885.3056 | Mobile: 404.932.4685
catherine.little@troutman.com

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From: Agboola, Ajoke (PHMSA)
Sent: Wednesday, June 5, 2019 5:26 PM
To: Little, Catherine D. ; Cook, Annie


                                                          1
                Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 25 of 109

Cc: Pittman, Forrest (PHMSA)
Subject: RE: CPF 1-2019-5006Nardozzi, Todd G

Hello Catherine,

Yesterday when we spoke, our discussion focused on Energy Transfer’s objection to the Stantec and Dynamic Risk report
quotes in Item 2 of the NOPV. Can you please confirm that that is the only thing Energy Transfer is asserting a sensitive
security information challenge to. Alternatively, can you highlight the language that Energy Transfer believes should be
protected. This will help focus our review. Thank you.

All the best,
Y. Ajoke Agboola
Attorney Advisor
Office of Chief Counsel
Pipelines and Hazardous Materials Safety Administration
U.S. Department of Transportation
1200 New Jersey Avenue, SE
Room E26-206
Washington, DC 20590
Office: 202.366.8730
Cell: 202.807.8845


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From: Little, Catherine D. [mailto:Catherine.Little@troutman.com]
Sent: Monday, June 3, 2019 10:54 PM
To: Agboola, Ajoke (PHMSA) <yewande.agboola@dot.gov>
Cc: Nardozzi, Todd G <TODD.NARDOZZI@energytransfer.com>; Pittman, Forrest (PHMSA) <forrest.pittman@dot.gov>;
Lason, Chris <Chris.Lason@energytransfer.com>; Mcilwain, Gregory (Greg) <Gregory.Mcilwain@energytransfer.com>;
Burrough, Robert (PHMSA) <robert.burrough@dot.gov>
Subject: Re: CPF 1-2019-5006

Thank you, Ajoke. I will give you or Forrest a call tomorrow.

Sent from my iPhone




Catherine D. Little
troutman sanders
Direct: 404.885.3056 | Mobile: 404.932.4685
catherine.little@troutman.com

□∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙∙□-


On Jun 3, 2019, at 4:09 PM, Agboola, Ajoke (PHMSA) <yewande.agboola@dot.gov> wrote:

        Hello Todd,

                                                                2
       Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 26 of 109


We are both free tomorrow afternoon from 1pm – 4pm. Catherine can call either of us. Thanks!

All the best,
Y. Ajoke Agboola
Attorney Advisor
Office of Chief Counsel
Pipelines and Hazardous Materials Safety Administration
U.S. Department of Transportation
1200 New Jersey Avenue, SE
Room E26-206
Washington, DC 20590
Office: 202.366.8730
Cell: 202.807.8845


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From: Nardozzi, Todd G [mailto:TODD.NARDOZZI@energytransfer.com]
Sent: Monday, June 3, 2019 7:42 AM
To: Pittman, Forrest (PHMSA) <forrest.pittman@dot.gov>; Lason, Chris
<Chris.Lason@energytransfer.com>; Mcilwain, Gregory (Greg)
<Gregory.Mcilwain@energytransfer.com>
Cc: Agboola, Ajoke (PHMSA) <yewande.agboola@dot.gov>; Burrough, Robert (PHMSA)
<robert.burrough@dot.gov>; Catherine.Little (catherine.little@troutmansanders.com)
<catherine.little@troutmansanders.com>
Subject: RE: CPF 1-2019-5006
Importance: High

Mr. Pittman,

Thank you for your email. The NOPV contains CONFIDENTIAL sensitive security information protected
from disclosure under FOIA, and that is the basis of our concern about the posting of the NOPV. We
would appreciate it if our outside counsel could contact you on Monday to discuss the issue before the
NOPV is posted. Can you please respond with your availability.

Thank you,



       Todd Nardozzi
       Sr. Manager
       DOT Compliance
       Energy Transfer
       O: 713.989.7126
       C: 281.229.5579



                                                    3
       Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 27 of 109



From: Pittman, Forrest (PHMSA) <forrest.pittman@dot.gov>
Sent: Friday, May 31, 2019 3:30 PM
To: Lason, Chris <Chris.Lason@energytransfer.com>; Nardozzi, Todd G
<TODD.NARDOZZI@energytransfer.com>; Mcilwain, Gregory (Greg)
<Gregory.Mcilwain@energytransfer.com>
Cc: Agboola, Ajoke (PHMSA) <yewande.agboola@dot.gov>; Burrough, Robert (PHMSA)
<robert.burrough@dot.gov>
Subject: CPF 1-2019-5006

Mr. Nardozzi:

I am following up on your recent conversations with PHMSA Eastern Region personnel
regarding PHMSA’s May 17, 2019 Notice of Probable Violation and Proposed Compliance
Order (NOPV) in case CPF 1-2019-5006. In accordance with the Federal Pipeline Safety Laws,
at 49 U.S.C. § 60135, PHMSA makes enforcement information publicly available. PHMSA
achieves this enforcement transparency through posting its documents on the public website.

I understand that Sunoco Pipeline has expressed concerns about portions of the NOPV
referencing information from two Stantec reports that are marked as confidential. We are
reviewing the information in the NOPV for the application of any Freedom of Information Act
(FOIA) exemptions, but as preliminary matter, the standard qualifying required information as
confidential commercial information under FOIA Exemption 4, 5 U.S.C. § 552(b)(4), does not
appear to have been met.

PHMSA plans to post the NOPV as it does in all enforcement cases. Should you have additional
questions or comments, please contact me as soon as possible.

Sincerely,

Forrest S. Pittman
Attorney-Advisor
Office of the Chief Counsel
Pipeline and Hazardous Materials Safety Administration
United States Department of Transportation
1200 New Jersey Avenue SE, Zone E-26
Washington, DC 20590
forrest.pittman@dot.gov
Office: (202)366-9885
Cell: (202)430-3641

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                                                            5
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 29 of 109




                         Attachment G
Email to Troutman Sanders on behalf of Sunoco from PHMSA
                     (Jun. 19, 2019)
                      Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 30 of 109

Christian, Donna T.




From:                              Pittman, Forrest (PHMSA) <forrest.pittman@dot.gov>
Sent:                              Wednesday, June 19, 2019 1:22 PM
To:                                Little, Catherine D.
Cc:                                Cook, Annie; Agboola, Ajoke (PHMSA)
Subject:                           RE: CPF 1-2019-5006



EXTERNAL SENDER

Catherine,

In response to your email below, and to our conversation on June 4, PHMSA has reviewed the information
contained in the NOPV and the Violation Report that you identified as sensitive security information. PHMSA
does not consider the information you identified to be Sensitive Security Information (SSI), or other security-
related information protected from release under FOIA Exemption 7(F), 5 U.S.C. § 552(b)(7)(F)

It is our understanding that you are not claiming the existence of any confidential business information in the
NOPV or Violation Report. Accordingly, PHMSA plans to post both documents to its enforcement
transparency website on June 27. If this is no longer your position, please inform me as soon as possible.

Thank you,


Forrest Pittman
Attorney-Advisor, PHMSA

PRIVILEGED & CONFIDENTIAL

From: Little, Catherine D. [mailto:Catherine.Little@troutman.com]
Sent: Wednesday, June 05, 2019 18:03
To: Agboola, Ajoke (PHMSA) <yewande.agboola@dot.gov>; Pittman, Forrest (PHMSA) <forrest.pittman@dot.gov>
Cc: Cook, Annie <annie.cook@troutman.com>
Subject: RE: CPF 1-2019-5006




Ajoke and Forrest,

Thank you for the call yesterday and your email this afternoon regarding the above referenced
matter. Attached please find the Notice of Probable Violation (NOPV) issued by PHMSA and received on May
20, 2019 that quotes directly from material that Sunoco Pipeline, L.P. (Sunoco or SPLP) submitted to the
Agency clearly and expressly marked as “Proprietary and Confidential Information” and “Confidential Security
Information not subject to Disclosure.” Sunoco considers this information to be proprietary generally, but most
importantly for Freedom of Information Act (FOIA) purposes, the Company believes that it is protected from
public disclosure under FOIA as sensitive homeland security information pursuant to 5 U.S.C. § 552(b)(7)
(referred to generally as FOIA Exemption 7).

Courts have consistently applied FOIA exemption 7 to protect this type of information for homeland security
purposes. Along those lines, the dispersion analysis information that is expressly quoted is in line with
information that PHMSA usually redacts from Facility Response Plans, such as worst case discharge
information. For those reasons, and in order to further focus the Agency’s review of this information, the
                                                           1
                Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 31 of 109
attached copy of the NOPV highlights the relevant portions of the analysis and spill modeling (on pp. 4 and 5)
that should be protected from public disclosure under FOIA. Specifically, and as we discussed, Sunoco
requests that the highlighted information be redacted from the NOPV or that the NOPV be revised or reissued
without reference to that information due to national security concerns with having that information in the public
domain.

In addition, Sunoco requested the Pipeline Safety Violation Report (PSVR) in this matter on May 31, 2019, but
has not yet received it. To the extent that the PSVR quotes the dispersion analyses or attaches portions of
them as exhibits, on behalf of Sunoco, we request that information be redacted as well in the event that it is the
subject of a FOIA request.

We look forward to hearing from you.


Catherine D. Little
troutman sanders
Direct: 404.885.3056 | Mobile: 404.932.4685
catherine.little@troutman.com

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From: Agboola, Ajoke (PHMSA) <yewande.agboola@dot.gov>
Sent: Wednesday, June 5, 2019 5:26 PM
To: Little, Catherine D. <Catherine.Little@troutman.com>; Cook, Annie <annie.cook@troutman.com>
Cc: Pittman, Forrest (PHMSA) <forrest.pittman@dot.gov>
Subject: RE: CPF 1-2019-5006Nardozzi, Todd G <TODD.NARDOZZI@energytransfer.com>

Hello Catherine,

Yesterday when we spoke, our discussion focused on Energy Transfer’s objection to the Stantec and Dynamic Risk report
quotes in Item 2 of the NOPV. Can you please confirm that that is the only thing Energy Transfer is asserting a sensitive
security information challenge to. Alternatively, can you highlight the language that Energy Transfer believes should be
protected. This will help focus our review. Thank you.

All the best,
Y. Ajoke Agboola
Attorney Advisor
Office of Chief Counsel
Pipelines and Hazardous Materials Safety Administration
U.S. Department of Transportation
1200 New Jersey Avenue, SE
Room E26-206
Washington, DC 20590
Office: 202.366.8730
Cell: 202.807.8845


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                                                             2
                Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 32 of 109

From: Little, Catherine D. [mailto:Catherine.Little@troutman.com]
Sent: Monday, June 3, 2019 10:54 PM
To: Agboola, Ajoke (PHMSA) <yewande.agboola@dot.gov>
Cc: Nardozzi, Todd G <TODD.NARDOZZI@energytransfer.com>; Pittman, Forrest (PHMSA) <forrest.pittman@dot.gov>;
Lason, Chris <Chris.Lason@energytransfer.com>; Mcilwain, Gregory (Greg) <Gregory.Mcilwain@energytransfer.com>;
Burrough, Robert (PHMSA) <robert.burrough@dot.gov>
Subject: Re: CPF 1-2019-5006

Thank you, Ajoke. I will give you or Forrest a call tomorrow.

Sent from my iPhone




Catherine D. Little
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On Jun 3, 2019, at 4:09 PM, Agboola, Ajoke (PHMSA) <yewande.agboola@dot.gov> wrote:

        Hello Todd,

        We are both free tomorrow afternoon from 1pm – 4pm. Catherine can call either of us. Thanks!

        All the best,
        Y. Ajoke Agboola
        Attorney Advisor
        Office of Chief Counsel
        Pipelines and Hazardous Materials Safety Administration
        U.S. Department of Transportation
        1200 New Jersey Avenue, SE
        Room E26-206
        Washington, DC 20590
        Office: 202.366.8730
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        From: Nardozzi, Todd G [mailto:TODD.NARDOZZI@energytransfer.com]
        Sent: Monday, June 3, 2019 7:42 AM
        To: Pittman, Forrest (PHMSA) <forrest.pittman@dot.gov>; Lason, Chris
        <Chris.Lason@energytransfer.com>; Mcilwain, Gregory (Greg)
        <Gregory.Mcilwain@energytransfer.com>
        Cc: Agboola, Ajoke (PHMSA) <yewande.agboola@dot.gov>; Burrough, Robert (PHMSA)
                                                                3
       Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 33 of 109

<robert.burrough@dot.gov>; Catherine.Little (catherine.little@troutmansanders.com)
<catherine.little@troutmansanders.com>
Subject: RE: CPF 1-2019-5006
Importance: High

Mr. Pittman,

Thank you for your email. The NOPV contains CONFIDENTIAL sensitive security information protected
from disclosure under FOIA, and that is the basis of our concern about the posting of the NOPV. We
would appreciate it if our outside counsel could contact you on Monday to discuss the issue before the
NOPV is posted. Can you please respond with your availability.

Thank you,


 <image001.jpg>                             <image003.jpg>

        Todd Nardozzi
        Sr. Manager
        DOT Compliance
        Energy Transfer

        O: 713.989.7126
        C: 281.229.5579




From: Pittman, Forrest (PHMSA) <forrest.pittman@dot.gov>
Sent: Friday, May 31, 2019 3:30 PM
To: Lason, Chris <Chris.Lason@energytransfer.com>; Nardozzi, Todd G
<TODD.NARDOZZI@energytransfer.com>; Mcilwain, Gregory (Greg)
<Gregory.Mcilwain@energytransfer.com>
Cc: Agboola, Ajoke (PHMSA) <yewande.agboola@dot.gov>; Burrough, Robert (PHMSA)
<robert.burrough@dot.gov>
Subject: CPF 1-2019-5006

Mr. Nardozzi:

I am following up on your recent conversations with PHMSA Eastern Region personnel
regarding PHMSA’s May 17, 2019 Notice of Probable Violation and Proposed Compliance
Order (NOPV) in case CPF 1-2019-5006. In accordance with the Federal Pipeline Safety Laws,
at 49 U.S.C. § 60135, PHMSA makes enforcement information publicly available. PHMSA
achieves this enforcement transparency through posting its documents on the public website.

I understand that Sunoco Pipeline has expressed concerns about portions of the NOPV
referencing information from two Stantec reports that are marked as confidential. We are
reviewing the information in the NOPV for the application of any Freedom of Information Act
(FOIA) exemptions, but as preliminary matter, the standard qualifying required information as
confidential commercial information under FOIA Exemption 4, 5 U.S.C. § 552(b)(4), does not
appear to have been met.

PHMSA plans to post the NOPV as it does in all enforcement cases. Should you have additional
questions or comments, please contact me as soon as possible.
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        Sincerely,

        Forrest S. Pittman
        Attorney-Advisor
        Office of the Chief Counsel
        Pipeline and Hazardous Materials Safety Administration
        United States Department of Transportation
        1200 New Jersey Avenue SE, Zone E-26
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                         Attachment H
Letter to PHMSA from Troutman Sanders on behalf of Sunoco
                     (Jun. 24, 2019)
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Troutman Sanders LLP
600 Peachtree Street NE, Suite 3000
Atlanta, GA 30308-2216

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Catherine D. Little
catherine.little@troutman.com




June 24, 2019
By Electronic Mail

Mr. Forrest Pittman, Esq.
Attorney-Advisor
Pipeline and Hazardous Materials Safety Administration
U.S. Department of Transportation
1200 New Jersey Avenue, SE
Washington, DC 20590

Re:     PHMSA NOPV CPF 1-2019-5006

Dear Mr. Pittman:

On behalf of Sunoco Pipeline, L.P. (SPLP), this is to respond to your email correspondence dated
June 19, 2019, in which the Pipeline and Hazardous Materials Safety Administration (PHMSA or
the Agency) indicated that it does not consider the confidential sensitive security information
identified by SPLP to be subject to protection under the Freedom of Information Act (FOIA)
exemption 7, 5 U.S.C. § 552(b)(7)(F). The Agency further indicated that it intends to publicly
post documents containing the information on June 27, 2019. SPLP respectfully disagrees and
requests that the Agency reconsider the issue. Because of the sensitive and confidential nature of
the homeland security issues presented, we are copying Chief Counsel Paul Roberti on this letter.1

The Notice of Probable Violation (NOPV) in question was received by SPLP on May 20, 2019.
As issued, the NOPV included quotes taken from spill dispersion reports that SPLP had previously
submitted to the Agency clearly marked as proprietary, confidential and sensitive security
information not subject to disclosure. Further, the same quotes are included in the underlying
Pipeline Safety Violation Report (PSVR) upon which the NOPV is based. See NOPV and PSVR,
enclosed as Attachments 1 and 2 (with the confidential sensitive security information highlighted).
In particular, the information quoted includes dispersion analysis predictions associated with a



1
  Similarly, we request that PHMSA treat this submission as confidential, as it addresses confidential security
information protected from disclosure under the Freedom of Information Act, and/or as enforcement confidential.
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Page 2




specific pipeline regarding thermal radiation modelling consequences to a degree of feet that would
be impacted in the event of a release.

As you know, when an operator submits information to the Agency marked as confidential, the
Department of Transportation (DOT) and PHMSA rules require the Agency to maintain that
information as confidential unless and until it is the subject of a request for disclosure. 49 C.F.R.
Part 7; 49 C.F.R. Part 190.343 (“when you submit information to PHMSA […], we may make
that information publicly available unless you ask that we keep the information confidential”)
(emphasis added).

If a FOIA request for disclosure is subsequently received that includes information marked as
confidential and protected, the Agency is then required by law to contact the operator and request
that it substantiate its claims that the information meets one of FOIA’s express exemptions.
49 C.F.R. Part 7.23(b) (“DOT makes reasonably described records available upon request from a
member of the public […] except to the extent that the records contain information exempt […].”);
49 C.F.R. Part 7.29(a) (“DOT notifies the submitter expeditiously and asks the submitter to submit
any written objections to release”). If the Agency does not believe the information is protected by
one of FOIA’s various exemptions, then it is obligated to provide a written explanation to the
operator, specifying its grounds for proceeding to disclose information claimed as confidential.
49 C.F.R. Part 7.29(b); 49 C.F.R. Part 190.343(b).

None of that established practice or procedure was followed by PHMSA in this case. To be clear,
the information has not been the subject of a FOIA request. In this instance, the Agency
improperly offers for public consumption in a NOPV information expressly marked by the
operator as confidential proprietary security information. That information should have been
maintained separately from public documents or, at a minimum, SPLP should have been asked to
substantiate its claim in advance. The mistake was discussed with the Agency by telephone on
June 4, 2019 and proposed redactions were provided by email on June 5, 2019. Instead of simply
correcting it by reissuing or redacting the NOPV to exclude the confidential sensitive information,
the Agency responded by email dated June 19, 2019 that concluded – without justification or
further explanation – that it has a right to and intends to include and disclose the marked
information “on June 27.” See Attachment 3 (email exchange between counsel for PHMSA and
SPLP).

That decision is simply not supported by law. The Agency did not even provide an explanation of
why it believed both DOT’s FOIA and PHMSA procedural rules should not apply in this instance.
Further, it did not request that SPLP substantiate its claim. The Agency instead now proposes to
post the NOPV on its website on June 27, 2019, at which time it will be publicly available, when
the information itself is not necessary or critical to the enforcement allegations. To our knowledge,
PHMSA has never before included confidential security information of this type in a NOPV,
especially when the material was clearly marked as such.
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SPLP’s dispersion analysis information that was submitted to PHMSA and expressly marked as
confidential security information could be used by those with ill intent against the American public
and could endanger the physical safety of the public. As such, it is the type of information that
PHMSA typically redacts from Facility Response Plans when they are made public (including
specific discussion of worst-case discharge information) and the type of information that PHMSA
has redacted from spill-model discussions. FOIA Exemption 7(F) protects information compiled
for law enforcement purposes that if released “could reasonably be expected to endanger the life
or physical safety of any individual.” 5 U.S.C. § 552(b)(7)(F); 49 C.F.R. Part 7.23(c)(7)(vi).
Courts have consistently applied FOIA Exemption 7(F) to protect this type of information for
homeland security purposes. Standing Rock Sioux Tribe v. U.S. Army Corps of Engineers, 249
F.Supp.32 516 (D.D.C. 2017) (holding that PHMSA redactions to “spill-model discussions,”
including spill-risk scores and predictions of the volume of product released, were protected from
public disclosure); Pub. Emps. For Envtl. Responsibility v. U.S. Section, Int’l Boundary & Water
Comm’n, U.S.-Mexico, 740 F.3d 195, 200, 206 (D.C. Cir. 2014) (holding that inundation maps
that displayed downstream areas and populations that would be affected if certain dams were to
fail, the estimated time involved, and the peak flow times should be withheld under Exemption
7(F)).

The District Court in Standing Rock explained that its conclusion to protect certain “spill-model
discussions” was consistent with both the D.C. Circuit’s and Supreme Court Justice Alito’s
conclusion that “in Exemption 7(F) cases involving documents relating to critical infrastructure,
it is not difficult to show that disclosure may endanger the life or physical safety of any individual.”
Standing Rock Sioux Tribe, 249 F.Supp.32 516 (citing Pub. Emps. for Envtl. Responsibility, 740
F.3d at 205–06 (quoting Milner v. Dep't of Navy, 562 U.S. 562, 582, 131 S.Ct. 1259, 179 L.Ed.2d
268 (2011) (Alito, J., concurring))). Further, the D.C. Circuit in PEER explained that the
inundation maps were protected because they “would give anyone seeking to cause harm the ability
to deduce the zones and populations most affected by dam failure,” and would allow “[t]errorists
or criminals” to “use that information to determine whether attacking a dam would be worthwhile,
which dam would provide the most attractive target, and what the likely effect of a dam break
would be.” Pub. Emps. for Envtl. Responsibility, 740 F.3d at 206 (D.C. Cir. 2014) at 206 (cited
in Standing Rock, which noted “the spill-model discussions are much like the inundation maps”).

In this case, the information in issue clearly presents potential homeland security concerns. That
fact alone should suggest protection under Exemption 7 of FOIA, at 5 U.S.C. § 552(b)(7)(F) (as
should the Supreme Court’s recent decision that lends further credence to taking a broader view to
protect confidential information, in Food Marketing Institute v. Argus Leader Media, S.Ct. No.
18-481 (Decided June 24, 2019)). Further, the manner in which this issue has arisen is inconsistent
with both PHMSA and FOIA procedure and practice. It was improper for PHMSA to include
quotes from documents designated as confidential security information in a NOPV that would
become part of the public record. But for that mistake by the Agency, there would be no need to
make – or repeat – this request. PHMSA should correct its mistake, or at least provide a legal
basis for its decision not to recognize established FOIA exemptions and not to follow established
PHMSA procedure for handling confidential information.
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We would appreciate a written response on this issue as soon as possible and we would be happy
to meet to discuss this issue further. Until the issue is resolved, however, we respectfully request
that PHMSA refrain from posting the NOPV in an unredacted form on the Agency’s website.

                                              Sincerely,



                                              Catherine D. Little

Attachments

cc:     Paul Roberti, PHMSA Chief Counsel
        Ajoke Agboola, PHMSA Attorney Advisor
        Greg Mcilwain, VP Operations, Energy Transfer
        Dawn McGuire, Assistant General Counsel, Energy Transfer
        Curt Stambaugh, Assistant General Counsel, Energy Transfer
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                         Attachment I
Letter to Troutman Sanders on behalf of Sunoco from PHMSA
                       (Nov. 6, 2019)
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                         Attachment J
Letter to PHMSA from Troutman Sanders on behalf of Sunoco
                     (Nov. 14, 2019)
        Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 47 of 109
Troutman Sanders LLP
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Catherine D. Little
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November 14, 2019

By Electronic Mail

Ms. Ajoke Agboola, Esq.
Attorney Advisor
Pipeline and Hazardous Materials Safety Administration
U.S. Department of Transportation
1200 New Jersey Avenue, SE
Washington, D.C. 20590

RE:     Sunoco Pipeline, L.P.
        PHMSA NOPV CPF 1-2019-5006
        Request for Confidential Treatment

Dear Ajoke:

On behalf of Sunoco Pipeline LP (SPLP or the Company), this is to respond to a letter from the
Pipeline and Hazardous Materials Safety Administration (PHMSA or the Agency) received by
SPLP on November 6, 2019. The letter was transmitted by PHMSA Chief Counsel Paul Roberti,
but it directed SPLP to reply to your attention. The Agency’s November 6, 2019, letter was in
response to a letter SPLP submitted to PHMSA on June 24, 2019, in relation to the above
referenced matter.

The issue presented in this exchange of correspondence arises under the Freedom of Information
Act (FOIA), 5 U.S.C. 552(b). In commencing the Notice of Probable Violation (NOPV)
enforcement action referenced above, PHMSA included information previously submitted to the
Agency under a claim of confidentiality under FOIA as sensitive security information and
confidential business information (FOIA exemptions 7(F) and 4). Applicable law requires that
such information be maintained as confidential by an agency, until a third party requests its
release under FOIA. At that time, the agency is required to inform the submitter of information of
the request and ask the submitter to substantiate the original claim of confidentiality.

That well established process was not followed in this case. SPLP submitted the information at
issue under a claim of confidentiality in 2018. To our knowledge, no third party has requested
this information from PHMSA. Yet the Agency, on its own volition, elected to include express
excerpts of this confidential information in enforcement documents that would become public.
SPLP presumed that inclusion was inadvertent, especially since it was not critical to the
enforcement documents. When SPLP pointed that out, however, the Agency – to our surprise –
defended its unprecedented action and continues to do so in its latest November 6, 2019 letter.
The Agency claims to be doing this on the basis of transparency in enforcement, although never
before has confidential information been made public in this manner.
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Page 2




Background

PHMSA issued the NOPV referenced above on May 17, 2019. The NOPV and its underlying
Pipeline Safety Violation Report (PSVR) both included express excerpts of information previously
submitted to the Agency as confidential. We are not aware of PHMSA ever before disclosing this
type of information where it was submitted as confidential without any request by a third party,
and in contradiction to both FOIA and PHMSA regulatory procedures for handling FOIA
information requests. For that reason, we presumed the Agency had simply made an error in
including the confidential information. We first raised that issue in a teleconference with the
Agency on June 4, 2019. At the conclusion of that call, PHMSA asked SPLP to submit requested
redactions from the NOPV and PSVR. The Company did so the very next day, on June 5, 2019.

PHMSA then defended its unprecedented and unsolicited inclusion of confidential information by
email correspondence dated June 19, 2019. In that letter, the Agency, without justification or
further explanation, advised SPLP that PHMSA did indeed intend to disclose the information
otherwise subject to a FOIA claim of confidentiality. PHMSA stated that it intended to disclose
the information in one week, on June 27, 2019 (an urgent date even though no third party had yet
requested the information). SPLP responded in detail in a letter dated June 24, 2019, objecting
to the Agency’s unusual action, and explaining why both Exemption 4 and Exemption 7(F) of
FOIA protect such information from disclosure.

The Agency’s recent reply letter, dated November 6, 2019, remains intransigent; PHMSA again
rejects SPLP’s claims for confidentiality and remains unwilling to redact the confidential
information, contrary to applicable law. Moreover, PHMSA’s November 6, 2019, letter states that
the Agency intends to disclose the confidential information within 5 days (this inexplicable ‘5 day’
deadline coming after the Agency took nearly 5 months to respond to our last submittal).

PHMSA’s Actions are Inconsistent with FOIA Obligations

The facts are straightforward in this matter, as is the law. In 2018, during an inspection by PHMSA
that occurred on various days in August, October and November of that year, SPLP provided
hazard analyses for the Agency’s review, and marked them as “Proprietary and Confidential
Information.” Specifically, the information marked as confidential concerns specific incident
dispersion and thermal radiation consequence analysis distances from the pipeline. This
information is used for Integrity Management Plan purposes (to identify potential high
consequence areas and to assess worst case impacts to those areas from a catastrophic pipeline
rupture). Hazard Analyses are included in Facility Response Plans to assist in identifying and
prioritizing response efforts should a pipeline rupture occur. This type of information is routinely
treated and claimed as confidential by members of the regulated community, including SPLP, and
routinely redacted by PHMSA if or when the Agency releases it for public review. SPLP has
consistently maintained and claimed this type of information as confidential. Notably, to our
knowledge PHMSA has never before sought to release this type of information, either as
submitted by SPLP or for the industry as a whole.

As described in our June 24, 2019, letter, once information designated as confidential is submitted
to a federal agency, FOIA requires that the government maintain that information as confidential.
If a FOIA request for such information is received by the agency, the agency is required to notify
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November 14, 2019
Page 3




the submitter and ask it to substantiate the original claim of confidentiality. 5 U.S.C. § 552(b); 49
C.F.R. Parts 7.23(b), 7.29(a) and 190.343. If the submitter substantiates the basis for its original
claim, the agency is prohibited from disclosing the information. 5 U.S.C. § 552(b); 49 C.F.R. Part
7.23(b).

In this case, on its own volition, PHMSA intended to disclose this confidential information as part
of an enforcement action. No third party had requested the information. There is no way to
explain the Agency’s action in this instance other than to call it a mistake or inadvertent disclosure;
neither the FOIA or PHMSA regulations allow such an action, and there is no PHMSA precedent
on point. Moreover, PHMSA did not provide the required notice to SPLP before it intended to
disclose confidential information. Instead, the Agency only asked for clarification or substantiation
after the mistake was pointed out by SPLP and discussed in a teleconference.

SPLP complied with PHMSA’s request and submitted redacted versions of the information that
the Agency had inappropriately included in the NOPV and PSVR. To our surprise, the Agency
continues to maintain that it has a right to disclose this information and that it benefits the public
interest.

FOIA Exemptions Appropriately Apply to the Subject Information

FOIA Exemption 7

The Agency’s November 6, 2019, letter attempts to justify its unprecedented action in this matter
by claiming that SPLP’s intent to invoke Exemption 7(F) of FOIA is not applicable because the
information subject to a claim of confidentiality is ‘not specific enough’ and that similar pipelines
could also present homeland security issues on general grounds. The Agency’s rationale is
nonsensical. There are multiple nuclear reactor facilities in the U.S., and multiple points where
oil pipelines cross waters near drinking water intakes. The fact that such situations present similar
security risks does not make certain information less security sensitive.

Additionally, PHMSA claims the type of information subject to SPLP’s claim of confidentiality is
“more analogous to the type of data PHMSA makes publicly available in its Emergency Response
Guidebook (ERG) or that the Environmental Protection Agency (EPA) provides through its
CAMEO software suite, which helps emergency responders plan for chemical emergencies.”
SPLP disagrees. To the contrary, the ERG is a relatively generic document that is intended for
first responders and does not address specific details of any pipeline system, let alone detailed
thermal radiation impacts measured in feet from the pipeline. Similarly, the EPA’s CAMEO
software suite, while more specific, is not prospective. Rather, it helps a first responder map a
spill once it has occurred and based on the volume of spill.

For these reasons, SPLP takes issue with PHMSA’s determination that the subject information
could not “reasonably be expected to endanger the life or physical safety of any individual.” 5
U.S.C. § 552(b)(7)(F). Consequence modeling is some of the most sensitive confidential security
information that is protected for homeland security purposes. This information could provide a
roadmap for anyone intending to either damage the pipeline and/or harm the surrounding
community. In particular, it would give anyone seeking to cause harm the ability to deduce the
zones and populations that would be most impacted by a pipeline incident.
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The Government Accountability Office recently commented on the vulnerability of pipelines to
physical attacks:

       According to [the Transportation Security Administration within the Department of
       Homeland Security], pipelines are vulnerable to physical attacks—including the
       use of firearms or explosives—largely due to their stationary nature, the volatility
       of transported products, and the dispersed nature of pipeline networks spanning
       urban and outlying areas. The nature of the transported commodity and the
       potential effect of an attack on national security, commerce, and public health
       make some pipelines and their assets more attractive targets for attack. Oil and
       gas pipelines have been and continue to be targeted by terrorists and other
       malicious groups globally.

U.S. Gov’t Accountability Off., GAO-19-48, Critical Infrastructure Protection Actions Needed to
Address Significant Weaknesses in TSA’s Pipeline Security Program Management, pp. 10-11
(Dec. 2018) (emphasis added), available at https://www.gao.gov/assets/700/696123.pdf.

Specifically with respect to consequence modeling, former Pennsylvania Public Utilities
Commission Pipeline Safety Chief, Paul Metro, declared in an affidavit concerning the very
pipeline system at issue in this matter:

       In my professional opinion, release of the requested records would compromise
       security against sabotage or criminal or terroristic acts regarding pipeline facilities
       by illustrating the extent of the impact zone, including casualty and damage
       assessments at various ranges, regarding an accident (or sabotage event) on a
       pipeline. These Reports and Inspection Reports explicitly provide how such an
       assessment can be made (as well as the assessment for this particular pipeline,
       and particularly on these Sunoco pipelines, as they contain the specific operating
       parameters of the pipelines) to cause the greatest possible harm and mass
       destruction to the public living near such facilities.

OOR Docket AP 2019-0502, Affidavit of Paul J. Metro, p. 2 (Apr. 15, 2019) (emphasis added).

Courts have held that such information is protected from FOIA disclosure for homeland security
purposes. See e.g., Standing Rock Sioux Tribe v. U.S. Army Corps of Engineers, 249 F. Supp.
32 516 (D.C. Cir. 2017); Pub. Emps. For Envtl. Responsibility v. U.S. Section Int’l Boundary &
Water Comm’n, U.S.-Mexico, 740 F.3d 195 (D.C. Cir. 2014). It is for that very reason that the
Company maintains this information as confidential, sensitive security information. In fact, this
very information has been consistently maintained as exempt from disclosure under
Pennsylvania’s state freedom of information act laws. Further, PHMSA itself redacts this type of
information from Facility Response Plans. See PHMSA Facility Response Plan Policy, PHMSA
2050.1A (effective Jun. 27, 2014) (explaining that PHMSA redacts, among other things,
illustrations identifying HCAs, description or boundaries of HCAs as well as threat scenarios and
response capacity values that can be used to calculate worst case discharge).
       Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 51 of 109
November 14, 2019
Page 5




FOIA Exemption 4

PHMSA’s November 6, 2019, letter further claims that Exemption 4 in FOIA does not apply in this
instance, invoking the Supreme Court decision issued the very day SPLP submitted its June 24,
2019, letter. In that decision, Food Marketing Institute v. Argus Leader Media, 139 S.Ct. 2356
(June 24, 2019) (FMI), the Court clarified that Exemption 4 of FOIA should be given broad
interpretation, not requiring any special limitations (such as specific invocations of confidentiality
or a showing of substantial competitive harm if the information was released). The Court clearly
stated that Exemption 4 of FOIA “protects information that would not customarily be released to
the public by the person from whom it was obtained.” Id. at 2365. Both SPLP’s records and
PHMSA records show that the Company does consistently and customarily consider and
designate the information at issue as confidential. PHMSA’s invocation of the recent FMI decision
by the Supreme Court serves only to further support SPLP’s claim in this matter.

The Agency’s November 6, 2019, letter at page 4 states that “because Sunoco marked
information as proprietary and confidential” the Agency will provide the Company with another
opportunity “to address the two conditions set out by the Court” in the FMI decision. PHMSA’s
letter states that SPLP must ‘provide a detailed statement’ and ‘specify all grounds’ for withholding
the information at issue (citing 49 C.F.R. Part 7.29).

Strangely, the Supreme Court’s FMI decision does not provide the ‘two conditions’ set forth in
PHMSA’s November 6, 2019, letter (i.e., ‘detailed statements’ and ‘specifying all grounds for
invocation of Exemption 4’). The Court instead states that the ‘two conditions’ are simply common
sense, established by the Webster Dictionary’s definition of ‘confidential’ and requiring only that
the information submitted is “customarily kept private, or at least closely held,” and that the
information provided to a government agency is “told in confidence.” Food Marketing Institute, at
2365.

The information PHMSA proposes to make publicly available is (1) information in which SPLP has
a commercial interest; (2) information that SPLP customarily maintains as confidential; and (3)
information that SPLP provided to PHMSA under the expectation that it would remain confidential
consistent with DOT and PHMSA FOIA regulations, long-standing exemptions and historical
practice. As such, this information clearly meets the standard under Exemption 4 as outlined in
FMI and articulated in the Department of Justice’s October 2019 guidance and Step-by-Step
Guide. This information is consistently kept private and closely-held by SPLP (as well as the
entire pipeline industry). In addition, DOT and PHMSA provide express assurance to operators
that such information is protected through FOIA regulations, PHMSA’s own 2014 Facility
Response Plan Policy (referenced above), and implied assurance through their historical practice
of protecting and redacting this type of information. There was no indication to SPLP that
PHMSA’s practice would be any different in this case with respect to the hazard analyses at issue.

Conclusion

This is an unusual and unnecessary dispute, of PHMSA’s own creation. The Agency, for the first
time we are aware of, included information submitted as FOIA confidential in enforcement
documents destined to become public. There is no question that the information was initially
submitted as confidential, and no question that the Agency took this action of its own volition (not
       Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 52 of 109
November 14, 2019
Page 6




in response to a FOIA request for disclosure of such information). As such, the inclusion of this
information in a NOPV and PSVR must have been inadvertent, because it is not supported by
applicable law or Agency precedent.

The facts and the law are clear in this instance. Information submitted previously by SPLP as
confidential is entitled to be maintained as such by PHMSA under FOIA. That conclusion is made
clear by existing statutes, regulations and a recent Supreme Court opinion. It is also consistent
with PHMSA’s own precedent.

The Company believes it has already provided ample explanation of ‘all grounds for invocation’
of Exemptions 4 and 7(F) of FOIA. To the extent there is any question about Exemption 4, the
Supreme Court has fully addressed it. As made clear by the recent Supreme Court FMI decision,
the simple fact that SPLP routinely maintains this information as confidential should suffice,
without any further “specific details.” Exemption 7 similarly applies to the information as
confidential security information, by virtue of the FOIA statute, regulations and the Agency’s own
policies and procedures.

We are puzzled why the Agency does not simply correct this inadvertent mistake. We are also
troubled by how long the Agency has taken to engage on this issue, and that it has on two
occasions now insisted on short turn around responses from the Company. The Agency should
rescind its proposed disclosure of this confidential information. To further facilitate the resolution
of this matter, we have enclosed the pages from the NOPV and PSVR that contain the offending
language with the redactions necessary to maintain the confidentiality under FOIA Exemptions 4
and 7(F), consistent with applicable law.

If this matter cannot be resolved amicably, SPLP believes the issues are important enough to the
industry and the legal community to seek judicial review. We strongly encourage the Agency to
maintain the information submitted as confidential until the matter is resolved or judicial review
complete. We are of course always available to meet to discuss further if helpful, and we look
forward to hearing from you.

                                               Sincerely,




                                               Catherine D. Little

Attachments

cc:    Paul Roberti, PHMSA Chief Counsel
       Ben Fred, Deputy Chief Counsel for Pipeline Safety
       Robert Burrough, Director, Eastern Region, OPS, PHMSA
       Greg Mcilwain, VP Operations, Energy Transfer
       Dawn McGuire, Assistant General Counsel, Energy Transfer
       Curt Stambaugh, Assistant General Counsel, Energy Transfer
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 53 of 109




      Proprietary and Confidential Information
         Confidential Security Information
              Not Subject to Disclosure
                   5 U.S.C. § 552

                              Attachment 1




             Confidential Protected from Disclosure under FOIA 5 U.S.C. § 552
         Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 54 of 109
                                                                                             CPF 1-2019-5006


As a result, Sunoco conducted material validation which included tensile tests prescribed by
ANSI/API Spec 5L or other acceptable method for a total of 7 locations within the 24.5 mile GRE
segment affected by the reversal and new MOP. The testing predominantly targeted 1937 vintage,
12.750-inch diameter, 0.375-inch wall thickness pipe and was based upon availability of
specimens rather than random selection. Therefore, the representative sampling failed to meet the
requirements of § 195.106(b)(1)(i) with respect to the number of tests required.

   2. § 195.440 Public awareness.

        (c) The operator must follow the general program recommendations, including
        baseline and supplemental requirements of API RP 1162, unless the operator
        provides justification in its program or procedural manual as to why compliance
        with all or certain provisions of the recommended practice is not practicable and
        not necessary for safety.

Sunoco failed to follow recommended practice API RP 1162 (IBR, see § 195.3). Specifically,
Sunoco failed to tailor its communications coverage area (buffer) to fit its particular pipeline,
location, and potential impact consequences.

During review of Sunoco's flow reversal and repurposing project involving the 12-inch PTBR to
MNTL pipeline segment, PHMSA evaluated Sunoco's Public Awareness Program (Public
Awareness Plan HLA.17 and HLI.40 04012018) in light of a proposed change in transported
product from refined petroleum products to highly volatile liquid (HVL) service (specifically
natural gas liquids mainly comprised of propane and butane). As part of the inspection, PHMSA
requested and reviewed pertinent risk assessments, including 3rd party consultant reports
completed for the 12-inch reversal section and newly constructed portions of the ME2 project
titled Hazard Assessment of the Proposed Mariner East 2 Pipeline (Stantec 03272017), Pipeline
Flow Reversal Assessment (Dynamic Risk 10052018) and Mariner East 2 Pipeline Re-Route
near Chester and Delaware, Pennsylvania - Butane Spill Assessment (Stantec Final 10152018).

During initial review of the Stantec 03272017 report covering the 20-inch diameter ME2 project,
PHMSA noted that dispersion and thermal radiation consequence modelling results for
accidental releases under Section 5.4 noted:

       ...the maximum distance to the LFL along the entire pipeline route was predicted to be
      FOIA Ex. 4 & 7(F)
                The maximum predicted distances to thermal radiation conse uences alon the
       entire pipeline were: FOIA Ex. 4 & 7(F)


The report also negated the consequence of multiple releases based on the fact that the pipelines
are buried and failure of one would require exposure of another, including ignition, to
sufficiently heat and damage the adjacent line. Although PHMSA acknowledges the assessment,
exception is taken for valve and pump station locations where multiple pipelines transporting
various commodities exist aboveground. These locations undoubtedly incorporate a higher
potential of risk and increased public impact in the event of multiple pipeline failures.



120195006_NOPV-PCO 05172019 (162303).docx                                                      Page 4 of 10
                          Confidential Protected from Disclosure under FOIA 5 U.S.C. § 552
         Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 55 of 109
                                                                                             CPF 1-2019-5006


Further inspection noted that Sunoco's original Public Awareness Plan specified mailings to the
affected public located 660 feet on either side of the proposed HVL transmission line, and
Sunoco noted that this was to be applicable to the entire ME2 project including the re-
purposing/reversal section.

During numerous meetings regarding the project held in August 2018, PHMSA conveyed
concerns associated with Sunoco's current 660-foot buffer for the HVL service citing API RP
1162 requirements that clearly state, "The transmission operator should tailor its communications
coverage area (buffer) to fit its particular pipeline, location, and potential impact consequences."

In addition, review of the subsequent Dynamic Risk 10052018 report noted that a separate
consequence assessment was completed by ET and provided to Dynamic Risk. This analysis
showed that any release from nearly any location along the reversal segment would be expected
to impact high consequence areas as defined by § 195.450. The report further concluded that:

       ...due to significantly different consequences of a pipeline failure in NGL versus prior
       service, the prior emergency response plans and public awareness programs for the
       segment would be inappropriate for application to an NGL pipeline. Energy Transfer
       should ensure emergency response plans and public awareness programs are updated
       appropriately, including outreach to both internal and external stakeholders such as local
       first responders.

The Stantec 10152018 report, focused on consequence modelling of a butane spill for the re-
route of a 29-mile section of the ME2 pipeline project between Wallace Township and Aston,
Pennsylvania due to the potential risk for the formation of a butane evaporating pool in the
vicinity of release.

The report concluded that (emphasis added) "spill modeling used the source characterization to
predict the extents of spill areas at 100-foot increments along the re-routed pipeline section. The
spill model included evaporative and boiling effects based on the thermo-physical properties of
butane and varying meteorology, including changes in wind speed and temperature.FOIA Ex. 4 & 7(F)
FOIA Ex. 4 & 7(F)

During follow-up meetings held in October 2018, Sunoco conveyed that they had modified their
Public Awareness Plan coverage area by extending it to a 1000' buffer on either side of the
pipeline. Sunoco stated the basis for the increase was solely in response to PHMSA's concern
and request conveyed during prior meetings. Due to the statement, PHMSA requested a formal
response to support the 1000' communication coverage limit, which was provided in November
2018.

Sunoco's response, dated November 2, 2018, explained the basis for selection of a 1000' buffer
and extent of communication with the Affected Public. The response stated, in part (emphasis
added) "After a discussion with representatives from the Pipeline and Hazardous Materials
Safety Administration and the Pennsylvania Public Utilities Commission in August 2018,
an internal company review was performed and a determination was made to increase the
buffer beyond the required 660 feet to 1,000 feet for all company-operated NGL pipelines


120195006 NOPV-PCO 05172019 (162303).docx                                                      Page 5 of 10
                          Confidential Protected from Disclosure under FOIA 5 U.S.C. § 552
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      Proprietary and Confidential Information
         Confidential Security Information
              Not Subject to Disclosure
                   5 U.S.C. § 552

                              Attachment 2




             Confidential Protected from Disclosure under FOIA 5 U.S.C. § 552
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   PIPELINE SAFETY VIOLATION REPORT
   US DOT Pipeline and Hazardous Materials Safety Administration

                                                                                                            Violation 2)

                             PART E - VIOLATION INFORMATION

                                      VIOLATION 2
                          PART El - DESCRIPTION OF VIOLATION
 Identify the regulation violated with the part, section, and most specific paragraph of Title 49 and
 include the text of the regulation. Note: When other regulatory sections are used to help specify
 the requirement, these regulations should be included below in the operator's conduct that
 violated the regulation.

 § 195.440 Public awareness.
       (c) The operator must follow the general program recommendations, including baseline and
       supplemental requirements of API RP 1162, unless the operator provides justification in its
       program or procedural manual as to why compliance with all or certain provisions of the
       recommended practice is not practicable and not necessary for safety.

 Describe the operator's conduct that violated the regulation:
 Sunoco failed to follow recommended practice API RP 1162 (IBR, see § 195.3). Specifically, Sunoco
 failed to tailor its communications coverage area (buffer) to fit its particular pipeline, location, and
 potential impact consequences.

 During review of Sunoco's flow reversal and repurposing project involving the 12-inch PTBR to
 MNTL pipeline segment, PHMSA evaluated Sunoco's Public Awareness Program (Public Awareness
 Plan HLA.17 and HLI.40 04012018) in light of a proposed change in transported product from refined
 petroleum products to highly volatile liquid (HVL) service (specifically natural gas liquids mainly
 comprised of propane and butane). As part of the inspection, PHMSA requested and reviewed pertinent
 risk assessments, including 3rd party consultant reports completed for the 12-inch reversal section and
 newly constructed portions of the ME2 project titled Hazard Assessment of the Proposed Mariner East
 2 Pipeline (Stantec 03272017), Pipeline Flow Reversal Assessment (Dynamic Risk 10052018) and
 Mariner East 2 Pipeline Re-Route near Chester and Delaware, Pennsylvania - Butane Spill Assessment
 (Stantec Final 10152018).

 During initial review of the Stantec 03272017 report covering the 20-inch diameter ME2 project,
 PHMSA noted that dispersion and thermal radiation consequence modelling results for accidental
 releases under Section 5.4 noted:

        ...the maximum distance to the LFL along the entire pipeline route was predicted to be FOIA Ex. 4 & 7(F)
        The maximum predicted distances to thermal radiation consequences along the entire pipeline
        were: FOIA Ex. 4 & 7 F


Form revision date: 12/12/2018          CPF# 1-2019-5006                                    Page 15 of 27
                              Confidential Protected from Disclosure under FOIA 5 U.S.C. § 552
           Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 58 of 109

   PIPELINE SAFETY VIOLATION REPORT
   US DOT Pipeline and Hazardous Materials Safety Administration

                                                                                                           Violation 2)

       FOIA Ex. 4 & 7(F)

The report also negated the consequence of multiple releases based on the fact that the pipelines are
buried and failure of one would require exposure of another, including ignition, to sufficiently heat and
damage the adjacent line. Although PHMSA acknowledges the assessment, exception is taken for
valve and pump station locations where multiple pipelines transporting various commodities exist
aboveground. These locations undoubtedly incorporate a higher potential of risk and increased public
impact in the event of multiple pipeline failures.

Further inspection noted that Sunoco's original Public Awareness Plan specified mailings to the
affected public located 660 feet on either side of the proposed HVL transmission line, and Sunoco
noted that this was to be applicable to the entire ME2 project including the re-purposing/reversal
section.

During numerous meetings regarding the project held in August 2018, PHMSA conveyed concerns
associated with Sunoco's current 660-foot buffer for the HVL service citing API RP 1162 requirements
that clearly state, "The transmission operator should tailor its communications coverage area (buffer) to
fit its particular pipeline, location, and potential impact consequences."

In addition, review of the subsequent Dynamic Risk 10052018 report noted that a separate consequence
assessment was completed by ET and provided to Dynamic Risk. This analysis showed that any
release from nearly any location along the reversal segment would be expected to impact high
consequence areas as defined by § 195.450. The report further concluded that:

        ...due to significantly different consequences of a pipeline failure in NGL versus prior service,
        the prior emergency response plans and public awareness programs for the segment would be
        inappropriate for application to an NGL pipeline. Energy Transfer should ensure emergency
        response plans and public awareness programs are updated appropriately, including outreach to
        both internal and external stakeholders such as local first responders.

The Stantec 10152018 report, focused on consequence modelling of a butane spill for the re-route of a
29-mile section of the ME2 pipeline project between Wallace Township and Aston, Pennsylvania due
to the potential risk for the formation of a butane evaporating pool in the vicinity of release.

The report concluded that (emphasis added) "spill modeling used the source characterization to predict
the extents of spill areas at 100-foot increments along the re-routed pipeline section. The spill model
included evaporative and boiling effects based on the thermo-physical properties of butane and varying
meteorology, including changes in wind speed and temperature. OIA Ex. 4 & 7(F)
FOIA Ex. 4 & 7 F

During follow-up meetings held in October 2018, Sunoco conveyed that they had modified their Public
Awareness Plan coverage area by extending it to a 1000' buffer on either side of the pipeline. Sunoco
stated the basis for the increase was solely in response to PHMSA's concern and request conveyed


Form revision date: 12/12/2018         CPF# 1-2019-5006                                    Page 16 of 27
                              Confidential Protected from Disclosure under FOIA 5 U.S.C. § 552
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 59 of 109




                         Attachment K
Email to Troutman Sanders on behalf of Sunoco from PHMSA
                     (Nov. 25, 2019)
        Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 60 of 109


From: Van Nostrand, Madeline (PHMSA) <madeline.vannostrand@dot.gov>
Sent: Monday, November 25, 2019 4:13 PM
To: Little, Catherine D. <Catherine.Little@troutman.com>
Cc: Agboola, Ajoke (PHMSA) <yewande.agboola@dot.gov>
Subject: Re: Sunoco Pipeline, L.P., NOPV CPF 1-2019-5006, Request for Confidential Treatment

EXTERNAL SENDER

Good Afternoon Ms. Little,

I am in receipt of your letter dated 11/14/2019. I wanted to let you know that tomorrow, 11/26/2019, we will be
posting a copy of the NOPV/PCO with Sunoco’s proposed redactions, as attached, in PHMSA’s FOIA Electronic
Reading Room.

Kindest Regards,

Madeline Van Nostrand
FOIA Officer
Office of Chief Counsel
Pipeline and Hazardous Materials Safety Administration (PHMSA)
U.S. Department of Transportation
1200 New Jersey Avenue, S.E.
Washington, D.C. 20590

Tel: 202.366.0273
Email: madeline.vannostrand@dot.gov or PHMSA.FOIA@dot.gov
Website: https://www.phmsa.dot.gov/foia

New! Click here to submit a FOIA request.

From: Little, Catherine D. <Catherine.Little@troutman.com>
Sent: Thursday, November 14, 2019 3:06:20 PM
To: Agboola, Ajoke (PHMSA) <yewande.agboola@dot.gov>
Cc: Roberti, Paul (PHMSA) <paul.roberti@dot.gov>; Fred, Benjamin (PHMSA) <Benjamin.Fred@dot.gov>; Burrough,
Robert (PHMSA) <robert.burrough@dot.gov>; Gregory.Mcilwain@energytransfer.com
<Gregory.Mcilwain@energytransfer.com>; CURTIS.STAMBAUGH@energytransfer.com
<CURTIS.STAMBAUGH@energytransfer.com>; Dawn.McGuire@energytransfer.com
<Dawn.McGuire@energytransfer.com>; Cook, Annie <annie.cook@troutman.com>; Hogfoss, Robert E.
<Robert.Hogfoss@troutman.com>
Subject: Sunoco Pipeline, L.P., NOPV CPF 1-2019-5006, Request for Confidential Treatment
Ajoke—
On behalf of Sunoco Pipeline, L.P. (SPLP), this is to both acknowledge receipt of and respond to a letter
from the Pipeline and Hazardous Materials Safety Administration’s Chief Counsel Paul Roberti dated
November 6, 2019. Consistent with the instructions set forth in the Nov. 6th letter, on behalf of SPLP, we
are directing the attached reply to your attention.


We look forward to hearing from you.
        Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 61 of 109




Catherine D. Little
Direct: 404.885.3056 | Mobile: 404.932.4685
catherine.little@troutman.com
────────────
troutman sanders
600 Peachtree Street, NE, Suite 3000
Atlanta, GA 30308
troutman.com
www.pipelaws.com
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Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 62 of 109




                         Attachment L
Letter to Troutman Sanders on behalf of Sunoco from PHMSA
                      (Dec. 20, 2019)
          Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 63 of 109


    U.S. Department                                                                         1200 New Jersey Avenue, S.E.
    of Transportation                                                                       Washington, D.C. 20590


    Pipeline and Hazardous
    Materials Safety Administration




                                                December 20, 2019




Transmitted via Electronic Mail to catherine.little@troutman.com – Read Receipt Requested
Catherine D. Little
Troutman Sanders LLP
600 Peachtree Street NE, Suite 3000
Atlanta, GA 30308-2216


Re: PHMSA FOIA Request Nos. 2020-0044 and 2020-0046


Dear Ms. Little:

This letter concerns two Freedom of Information Act (FOIA) requests submitted to the Department
of Transportation’s Pipeline and Hazardous Materials Safety Administration (PHMSA) seeking
an unredacted copy of the Notice of Probable Violation (NOPV) issued to Sunoco Pipeline, L.P.
(Sunoco) on 5/17/2019 in CPF No. 1-2019-5006. 1

PHMSA is required to provide Sunoco, the submitter of information that it designated as
“Proprietary and Confidential” (as it is excerpted in the NOPV), with written notice of the FOIA
requests and the opportunity to comment. See Executive Order 12,600, 52 Fed. Reg. 23,781 (June
25, 1987). See also FOIA Exemption 4, 5 U.S.C. § 552 (b)(4) (protecting “trade secrets and
commercial or financial information obtained from a person [that is] privileged or confidential”);
Department of Transportation (DOT) FOIA regulations, 49 C.F.R. § 7.29. For your review, please
find attached the two FOIA requests and the pages of the NOPV (pages 4 and 5) that contain the
information Sunoco designated as “Proprietary and Confidential Information.”

1
  On page 4 of the NOPV, PHMSA quoted two sentences from the report, “Hazard Assessment of the Proposed Mariner
East 2 Pipeline” (Mar. 27, 2017) (Stantec Report). Sunoco designated each page of the Stantec Report as “Proprietary and
Confidential Information.” On page 5 of the NOPV, PHMSA also quoted two excerpts (two and three sentences,
respectively) from the report, “Energy Transfer: Mariner East 2 Pipeline Re-Route near Chester and Delaware, Pennsylvania
– Butane Spill Assessment; Final Report” (Oct. 15, 2018) (Stantec Final Report). Sunoco designated each page of the
Stantec Final Report as “Proprietary and Confidential Information. Confidential Security Information not subject to
Disclosure to third parties under the provisions and procedures specified in ‘The Public Utility Confidential Security
Information Disclosure Protection Act’ (35 P.S. §§ 2141.1 to 2141.6) and the PUC’s regulations implementing such Act at
52 Pa. Code §§ 102.1 – 102.4.” On 11/6/2019, PHMSA consulted with Sunoco under 49 C.F.R. § 190.343 and Sunoco
maintained that certain portions of the excerpts from the Stantec reports are confidential commercial information. PHMSA
has since posted the NOPV as redacted by Sunoco on PHMSA’s enforcement transparency website, available at
https://primis.phmsa.dot.gov/comm/reports/enforce/documents/120195006/120195006_NOPV%20PCO_05172019.pdf.
        Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 64 of 109
12/20/2019                                                                                        Page 2
                                                                                  2020-0044 & 2020-0046
                                                                                                 Sunoco



Exemption 4, 5 U.S.C. § 552(b)(4), permits withholding information that is both 1) confidential
and 2) commercial or financial in nature. Before we can deny access to a FOIA requester under
Exemption 4, we need an adequate and convincing written justification from Sunoco for
withholding the material. A general objection to the disclosure of information is insufficient.

In order to evaluate the information on pages 4 and 5 of the NOPV that Sunoco maintains is
confidential commercial information, PHMSA will apply the Department of Justice’s Exemption 4
guidance that it issued following the U.S. Supreme Court decision in Food Marketing Institute v.
Argus Leader Media, 139 S. Ct. 2356 (2019), available at https://www.justice.gov/oip/exemption-4-
after-supreme-courts-ruling-food-marketing-institute-v-argus-leader-media. Please use the below
guidance to decide whether to request that PHMSA continue to withhold any information under
Exemption 4:

    x   Is the information commercial in nature?
    x   Does your organization customarily and actually keep the information private or closely-
        held?
    x   Did PHMSA provide an express or implied assurance of confidentiality when your
        organization shared the information?
    x   Were there express or implied indications at the time the information was submitted that
        PHMSA would publicly disclose the information?

If Sunoco wishes to continue to object to the release of the remaining information it designated as
“Proprietary and Confidential Information” in the excerpts, then Sunoco must “provide [PHMSA
with] a detailed statement of any such objections,” and “must specify all grounds for withholding
any of the information.” See 49 C.F.R. § 7.29. “The burden is on [Sunoco] to identify with
specificity all information for which exempt treatment is sought and to persuade the agency that
the information should not be disclosed.” Id.

You must submit your written objections to PHMSA within 10 business days from the date of
this letter. In addition, if you wish to object to the release of any of the designated information in
the NOPV, please clearly mark that information to help PHMSA comply with DOT’s FOIA
policy regarding segregability. See 49 C.F.R. § 7.23(a) (“It is DOT policy to make its records
available to the public to the greatest extent possible . . . includ[ing] releasing reasonably
segregable and meaningful nonexempt information . . . .”).

Any objections must be received by email to PHMSA.FOIA@dot.gov or by mail to:

                                U.S. Department of Transportation
                                 PHMSA FOIA Officer, PHC-30
                                     Office of Chief Counsel
                                East Building, 2nd Floor, E26-105
                                  1200 New Jersey Avenue, SE
                                     Washington, DC 20590
        Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 65 of 109
12/20/2019                                                                                        Page 2
                                                                                  2020-0044 & 2020-0046
                                                                                                 Sunoco



Please notify us by email to PHMSA.FOIA@dot.gov should you mail your response to the above
address. If we do not receive a response from you by Tuesday January 7, we will conclude that
you do not object to the disclosure of the information designated as “Proprietary and Confidential
Information.” In such event, PHMSA will disclose the NOPV to the public in full, without further
notice to you.

PHMSA’s final review determination on the applicability of all other FOIA exemptions is
complete. The law does not support the application of any other FOIA exemptions, including
FOIA Exemption 7(F), 5 U.S.C. § 552.

Thank you for your time and consideration in this matter. If you have questions, please contact
me at 202-366-0273 or PHMSA.FOIA@DOT.GOV.




                                                  Sincerely,
                                                   MADELINE M VAN              Digitally signed by MADELINE M
                                                                               VAN NOSTRAND
                                                   NOSTRAND                    Date: 2019.12.20 11:56:31 -05'00'
                                                  FOIA Officer, Office of Chief Counsel
                                                  Pipeline and Hazardous Materials Safety Administration



Attachment: 2020-0044 and 2020-0046 Consultation Package 2019.12.20.pdf
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                        Attachment M
Letter to PHMSA from Troutman Sanders on behalf of Sunoco
                      (Jan. 7, 2020)
        Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 67 of 109

Troutman Sanders LLP
600 Peachtree Street NE, Suite 3000
Atlanta, GA 30308-2216

troutman.com

Catherine D. Little
catherine.little@troutman.com




January 7, 2020

By Electronic Mail to PHMSA.FOIA@dot.gov

Ms. Madeline M. Van Nostrand
FOIA Officer
Office of Chief Counsel
Pipeline and Hazardous Materials Safety Administration
U.S. Department of Transportation
East Building, 2nd Floor, E26-105
1200 New Jersey Avenue, SE
Washington, D.C. 20590

RE:     Sunoco Pipeline, L.P.
        PHMSA FOIA Request Nos. 2020-0044 and 2020-0046
        Written Justification to Withhold Confidential and Security Sensitive Information

Dear Ms. Van Nostrand:

On behalf of Sunoco Pipeline LP (SPLP or the Company), this is to respond to a letter from the
Pipeline and Hazardous Materials Safety Administration (PHMSA or the Agency) received by
Troutman Sanders for SPLP on December 20, 2019. The Agency’s letter was issued in response
to the two above-referenced third party Freedom of Information Act (FOIA) requests for an
unredacted copy of Notice of Probable Violation (NOPV) CPF No. 1-2019-5006 issued to SPLP
on May 17, 2019. As provided in the written justification below, and in prior correspondence from
SPLP to PHMSA dated June 24 and November 14, 2019, the Company maintains that the
redacted information should be withheld from disclosure under FOIA Exemptions 4 and 7(F) as
confidential business and sensitive security information.1 The designated protected information
has already been clearly marked and redacted for PHMSA and provided with SPLP’s November
14, 2019 letter (and enclosed with this letter as Attachment 7).

The facts and the law clearly support withholding the redacted passages. The information for
which SPLP has made a confidentiality claim is routinely treated and claimed as confidential by
the Company as well as other members of the regulated community. In addition, this type of
information is regularly redacted by PHMSA if it is the subject of a FOIA request or in making
certain materials publicly available. Further, this type of information has been held as confidential
and sensitive security information by other agencies and the courts.




1 5 U.S.C. § 552(b)(4) and 7(F), respectively.
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Background

During inspections by PHMSA that occurred between August, October, and November 2018, in
response to the Agency’s request SPLP provided hazard analyses on the condition that they
would be treated as confidential and proprietary and marked them as “Proprietary and
Confidential Information” in light of the confidential business and security sensitive information
contained in the analyses.2 In particular, the information marked as confidential concerns specific
incident dispersion and thermal radiation consequence analysis distances from the pipeline
contained in two different reports: (1) a March 27, 2017 report entitled “Hazard Assessment of
the Proposed Mariner 2 East Pipeline” (Stantec Report) and (2) an October 15, 2018 report
entitled “Energy Transfer: Mariner East 2 Pipeline Re-Route near Chester and Delaware,
Pennsylvania – Butane Spill Assessment: Final Report” (Stantec Final Report). The information
from those reports is used by the Company for Integrity Management Plan purposes.
Specifically, the information is used to identify potential high consequence areas and to assess
worst case impacts to those areas from a catastrophic pipeline rupture, pursuant to 49 C.F.R.
§ 195.452. Hazard analyses are also used by the Company in the development of Facility
Response Plans to assist in identifying and prioritizing response efforts should a pipeline rupture
occur, pursuant to 49 C.F.R. Part 194.

The NOPV as issued by PHMSA included excerpted quotes from these very same documents
that SPLP previously submitted to the Agency with claims for confidentiality under FOIA. Following
receipt and review of the NOPV and the case file, SPLP raised concerns to the Agency, and the
Company provided proposed redactions to PHMSA at the Agency’s request on June 5, 2019.3
PHMSA initially responded on June 19, 2019, that it intended to nevertheless disclose the
information by publicly posting the NOPV on the Agency website.4 SPLP objected, responding
in a detailed letter dated June 24, 2019 and explaining again that the information is confidential
and sensitive security information that is statutorily protected from disclosure under express FOIA
exemptions.5

On November 6, 2019, PHMSA finally responded to SPLP’s June 24th letter, requesting another
response from SPLP within five business days.6 SPLP submitted an additional response on
November 14, 2019, further explaining the basis for the FOIA exemptions and again providing
proposed redactions to the NOPV.7 PHMSA then elected to post the NOPV as redacted by SPLP
on PHMSA’s enforcement website.


2 See SPLP letters to PHMSA dated Jul. 6, 2018 and Nov. 2, 2018 submitting the Stantec Report and

Stantec Final Reports, respectively (copies included with this letter as Attachments 1 and 2).

3 See e-mail to PHMSA from Troutman Sanders on behalf of SPLP (Jun. 5, 2019) (Attachment 3).


4 See e-mail to Troutman Sanders on behalf of SPLP from PHMSA (Jun. 19, 2019) (Attachment 4).


5 See letter to PHMSA from Troutman Sanders on behalf of SPLP (Jun. 24, 2019) (Attachment 5).


6 See letter to Troutman Sanders on behalf of SPLP from PHMSA (Nov. 6, 2019) (Attachment 6).


7 See letter to PHMSA from Troutman Sanders on behalf of SPLP (Nov. 14, 2019) (Attachment 7).
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FOIA Exemptions Protect the Subject Information

PHMSA now seeks further written justification from SPLP for withholding the material under
Exemption 4 of FOIA, specifically seeking a “detailed statement of any such objections” and
specifying “all grounds for withholding any of the information.”8 For the reasons stated in detail
below, SPLP maintains the subject information redacted from the NOPV as confidential, and that
information fully qualifies for protection under FOIA Exemption 4 as well as Exemption 7(F),
consistent with applicable law including the Supreme Court’s recent decision in Food Marketing
Institute v. Argus Leader Media, 139 S. Ct. 2356 (2019). Further, protection of this information
from public disclosure is consistent with the Department of Justice (DOJ) “Guide to the Freedom
of Information Act,”9 including DOJ’s recent guidance following Argus Leader. 10

FOIA Exemption 4

SPLP’s records and documents provided to PHMSA show that the Company consistently and
customarily considers and designates the information at issue as confidential. FOIA does not
define the term “confidential” under Exemption 4. The Supreme Court, however, recently
interpreted the meaning of “confidential” under FOIA Exemption 4 in its Argus Leader decision.
In that case, the Court clarified that Exemption 4 of FOIA should be given broad interpretation,
not requiring any special limitations (such as specific invocations of confidentiality or a showing of
substantial competitive harm if the information was released).11 The Court held that “confidential”
under FOIA Exemption 4 is based on the ordinary meaning of the term, which outlines two
conditions: (1) that the information submitted is “customarily kept private, or at least closely held,”
and (2) that the information provided to a government agency is “told in confidence.”12

To justify SPLP’s claim further and consistent with DOJ’s “Step by Step Guide for Determining if
Commercial Information is Confidential under Exemption 4,” PHMSA specifically requested that
SPLP respond to four questions, set forth below along with SPLP’s responses.13

8 49 C.F.R. § 7.29.


9 Available at https://www.justice.gov/oip/doj-guide-freedom-information-act-0.


10 Available at https://www.justice.gov/oip/exemption-4-after-supreme-courts-ruling-food-marketing-

institute-v-argus-leader-media.

11 Food Mktg. Inst. v. Argus Leader Media, 139 S. Ct. 2356 (2019).


12 Id. at 2365.


13 SPLP is cooperatively responding to all four questions raised by PHMSA in its December 20th letter, but

it is clear from the Supreme Court’s holding in Argus Leader Media that the only questions required to be
addressed are whether the information submitted is “customarily kept private, or at least closely held” and
that the information be provided “in confidence” to the government. Id. at 2635. Further, the Supreme
Court expressly declined to decide whether government assurances of continued confidentiality were
necessary to Exemption 4. Id. at 2363. The third and fourth DOJ questions, then, are not germane to this
inquiry, and the Company reserves the right to challenge the necessity of a response to the individual
questions.
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     1. Is the information commercial in nature?

        Yes. The information presented in the Stantec Report and Stantec Final Report contains
        confidential commercial information about the SPLP system and hypothetical illustrations
        of potential impact zones, damage assessments and casualty assessments. As such,
        SPLP has a strong commercial interest in the subject information as it relates to the
        potential impact of a pipeline incident on its pipeline system which transports products in
        interstate and intrastate commerce. “Commercial” information is not defined in FOIA
        Exemption 4 but it has been broadly defined by the courts, with courts holding that it should
        be given its “ordinary meaning” and that “records are commercial so long as the submitter
        has a ‘commercial interest’ in them.”14

        SPLP’s interest in the Stantec Reports arises from the fact that the modeling specifies the
        potential for harm to the pipeline system and the public. As the D.C. Circuit has
        recognized, a company’s commercial interests “‘could be materially affected by the
        disclosure of’” information on “‘safety problems experienced during the operation of . . .
        [its] facilities.’”15 SPLP’s commercial interests could be similarly affected by disclosure of
        information on the consequences of pipeline incidents, even if those incidents are purely
        hypothetical. The harm of that disclosure is especially foreseeable here given the increase
        in pipeline sabotage incidents around the country.16 Additionally, it is foreseeable that third
        parties could seek to use the protected information to contest or unnecessarily delay state
        or federal approvals for its projects.17




14 DOJ Guide to the Freedom of Information Act, Exemption 4 at p. 5 (citing Pub. Citizen Health Research

Grp. v. FDA, 704 F.2d at 1280, 1290 (D.C. Cir. 1983)).

15 Baker & Hostetler LLP v. U.S. Dep’t of Commerce, 473 F.3d 312, 319 (D.C. Cir. 2006) (quoting Critical

Mass Energy Project v. Nuclear Regulatory Comm’n, 830 F.2d 278, 281 (D.C. Cir. 1987) (holding that
independent reports on the “‘possible causes and effects’” of safety incidents at nuclear power plants
qualified as commercial information)).
16
  U.S. Gov’t Accountability Off., GAO-19-48, Critical Infrastructure Protection Actions Needed to Address
Significant Weaknesses in TSA’s Pipeline Security Program Management, pp. 10-11 (Dec. 2018); FBI
(2019). FBI and Federal Partners Brief Pipeline Industry Leaders on National Security Threats to Energy
Infrastructure. Available at: https://www.fbi.gov/contact-us/field-offices/houston/news/press-releases/fbi-
and-federal-partners-brief-pipeline-industry-leaders-on-national-security-threats-to-energy-infrastructure
[Accessed 3 Jan. 2020] (reporting on a Nov. 7, 2019, meeting where representatives from the FBI, National
Counterintelligence and Security Center, the U.S. Department of Energy, the Federal Energy Regulatory
Commission, the Transportation Security Administration, the U.S. Department of Homeland Security, and
leaders of pipeline and oil and gas companies met for a classified briefing about physical and cyber threats
to U.S. energy infrastructure).

17 See Pub. Citizen Health Research Grp. v. FDA, 704 F.2d 1280, 1290 (D.C. Cir. 1983) (holding that

information was considered commercial where it was “instrumental in gaining marketing approval” from a
regulator).
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    2. Does your organization customarily and actually keep the information private or closely-
       held?

        Yes. Given the commercial and sensitive nature of the information at issue that the
        Company seeks to protect as explained in further detail below, this information is
        consistently and customarily kept private and closely held by SPLP, as well as the entire
        pipeline industry, and even State agencies. This is why SPLP clearly designates this
        information as “Proprietary and Confidential” when it is submitted to PHMSA and other
        agencies.18

        Specifically, the Company claimed confidentiality over the same reports during inspections
        and in response to information requests regarding information received and inspections
        conducted by both PHMSA and the Pennsylvania Public Utility Commission (PA PUC),
        Safety Division, Pipeline Safety Section.19 The transmittal letters enclosing the reports
        emphasized the confidential nature of the information, stating:

                  As described below, the information, responses and documents (collectively
                  the “Production”), regardless of form or format, is provided conditioned upon
                  the Production being treated according to available and applicable federal
                  and state confidentiality, proprietary, and infrastructure security treatments
                  and procedures as specified below.

                  […]the information contained in the enclosed documents … and other similar
                  information that may be provided by ETP/SPLP in the future … are
                  confidential and propriety. We are not sending a second copy of the original
                  with the confidential information deleted in accordance with paragraph to of
                  Section 105.30 because we consider all of the information attached to be
                  confidential. The attached data … [are/is] being submitted at PHMSA’s
                  request but subject to ETP/SPLP’s request for confidential treatment under 5
                  U.S.C. 552(b)(4) as incorporated by reference in and modified by the state
                  and/or regulation under which the information is being submitted. This letter
                  is based on knowledge, information and reasonable belief that the attached
                  information is not known to have been disclosed or become available outside
                  ET/SPLP or related entities in the format or the extent provided in the
                  attached. Accordingly, we have marked the attached materials “Proprietary
                  and Confidential Information” in bold font in the attached …20


18 See, e.g., Am. Small Bus. League v. DOD, -- F. Supp. 3d --, 2019 WL 6255353, at *4 (N.D. Cal. Nov. 24,

2019) (“restrictive markings on documents and communications” evidenced an expectation of
confidentiality).
19 See Ctr. for Investigative Reporting v. U.S. Customs & Border Prot., No. 18-cv-2901, 2019 WL 7372663,

at *12 (D.D.C. Dec. 31, 2019) (holding that the critical evidence on confidentiality is how the “particular party
customarily treats the information, not how the industry as a whole treats the information”) (internal
quotation marks omitted).
20 See Attachments 1 and 2.
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        Notably, former Chief of the PA PUC’s Safety Division, Pipeline Safety Section himself
        attested to both the confidential and security sensitive nature of the information contained in
        the same Stantec Reports and the need to keep them confidential in related PA PUC
        proceedings (as explained further below).21

    3. Did PHMSA provide an express or implied assurance of confidentiality when your
       organization shared the information?

        Yes. Both the U.S. Department of Transportation (DOT) as a whole and PHMSA specifically
        provide express assurance to operators that such information – when claimed as
        confidential by an operator – is protected through FOIA regulations22 and PHMSA’s own
        2014 Facility Response Plan Policy.23 In addition, DOT and PHMSA provide implied
        assurance through their historical practice of protecting and redacting this type of
        information.24 The Supreme Court in Argus Leader recognized such assurances when
        referencing with approval lower court precedent that “Exemption 4 would ‘protect information
        that a private individual wishes to keep confidential for his own purposes, but reveals to the
        government under the express or implied promise of confidentiality.’”25 In light of these
        express and implied assurances from DOT and PHMSA, there was no indication to SPLP
        that PHMSA’s practice would be any different with respect to the hazard analyses at issue.26

    4. Were there express or implied indications at the time the information was submitted that
       PHMSA would publicly disclose the information?

        No. There was no indication to SPLP at any time that the information the Company has

21 See OOR Docket AP 2019-0502, Affidavit of Paul J. Metro (Apr. 15, 2019) (Attachment 8).


22 49 C.F.R. § 7.29; 49 C.F.R. § 190.243.


23 See PHMSA Facility Response Plan Policy, PHMSA 2050.1A (effective Jun. 27, 2014) (explaining that

PHMSA redacts, among other things, illustrations identifying HCAs, description or boundaries of HCAs as
well as threat scenarios and response capacity values that can be used to calculate worst case discharge).

24 DOJ guidance issued to agencies applying the Argus Leader decision notes “an agency’s long history of

protecting certain commercial or financial information can serve as an implied assurance to submitters that
the agency will continue treating their records in the same manner.” DOJ Guide to the Freedom of
Information Act, Exemption 4 at p. 6.

25 Argus Leader, 139 S. Ct. at 2363 (quoting GSA v. Benson, 415 F.2d 878, 881 (9th Cir. 1969)).          DOJ
guidance issued to agencies applying this decision expressly acknowledges this, stating that “Such an
assurance of confidentiality can be either explicit or implicit. Neither the Court’s decision in Argus Leader
nor any of the authority it cited suggests a requirement of an express (as opposed to implied) assurance of
confidentiality by the government.” DOJ Guide to the Freedom of Information Act, Exemption 4 at p. 5.

26 See also Am. Small Bus. League, 2019 WL 6255353, at *7 (N.D. Cal. Nov. 24, 2019) (agencies implicitly

assured confidentiality where they “anonymized the relevant information in public settings, such as during
congressional hearings”); see also U.S. Dep’t of Justice v. Landano, 508 U.S. 165, 172 (1993) (inferring
confidential assurances from the “circumstances” and general practice around certain types of documents
or sources).
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        maintained as confidential and submitted to PHMSA under a claim of confidentiality would
        be publicly disclosed, or that there was any indication of a possibility that PHMSA would
        deviate from its FOIA obligations as set forth in its 49 C.F.R. Part 190 and DOT’s 49 C.F.R.
        Part 7 regulations.

In sum, the information PHMSA proposes to make publicly available is (1) information in which
SPLP has a commercial interest; (2) information that SPLP customarily maintains as confidential;
and (3) information that SPLP provided to PHMSA under the expectation that it would remain
confidential consistent with DOT and PHMSA FOIA regulations, long-standing FOIA statutory
exemptions and historical practice. As such, this information clearly meets the standard under
Exemption 4 as set forth in Argus Leader and in DOJ’s subsequent guidance.27

FOIA Exemption 7

In addition to Exemption 4, the confidential information at issue should be protected by PHMSA
under FOIA Exemption 7(F) given the sensitive security nature of the content. Exemption 7(F)
requires withholding of “records or information compiled for law enforcement purposes” that “could
reasonably be expected to endanger the life or physical safety of any individual.”28 In its letter
dated November 6, 2019, PHMSA stated that FOIA Exemption 7(F) is not applicable because the
information subject to a claim of confidentiality is “not specific enough” and that similar pipelines
could also present homeland security issues on general grounds.29 As set forth in its November
14, 2019 letter, SPLP takes issue with PHMSA’s determination that the subject information could
not reasonably be expected to endanger the life or physical safety of any individual, particularly
given that “a reasonable expectation of endangerment suffices.”30

Consequence modeling is some of the most sensitive confidential security information that is
protected for homeland security purposes. This information could provide a roadmap for anyone
intending to either damage the pipeline and/or harm the surrounding community. In particular, it
would give anyone seeking to cause harm the ability to deduce the zones and populations that
would be most impacted by a pipeline incident, similar to inundation maps that show areas
27 Argus Leader Media, 139 S. Ct. at 2356.


28 5 U.S.C. § 552(b)(7)(F).  Information compiled for “law enforcement purposes” extends, naturally, to
information gathered during Agency inspections and relied upon for enforcement, as it was in this instance.
29 PHMSA also stated in its November 6, 2019, letter that the type of information subject to SPLP’s claim

of confidentiality is “more analogous to the type of data PHMSA makes publicly available in its Emergency
Response Guidebook (ERG) or that the Environmental Protection Agency (EPA) provides through its
CAMEO software suite, which helps emergency responders plan for chemical emergencies.” To the
contrary, the ERG is a relatively generic document that is intended for first responders and does not address
specific details of any pipeline system, let alone detailed thermal radiation impacts measured in feet from
the pipeline. Similarly, the EPA’s CAMEO software suite, while more specific, is not prospective. Rather, it
helps a first responder map a spill once it has occurred and based on the volume of spill.

30 DOJ Guide to the Freedom of Information Act, Exemption 7(F), p. 1 (citing Pub. Emps. For Envt’l Resp.

v. U.S. Sect. Int’l Boundary & Water Comm’n, 740 F. 3d 195, 206 (D.C. Cir. 2014)); accord Friedman v.
U.S. Secret Serv., 282 F. Supp. 3d 291, 307 (D.D.C. 2017) (quoting Pub. Emps. For Envt’l. Resp., 740 F.3d
at 205)).
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downstream from dams are at risk for flooding that have been held by the D.C. Circuit Court of
Appeal to be protected from disclosure under Exemption 7(F).31 The potential for harm from the
information is key to the analysis of whether to withhold information.32

That harm has already been substantiated based on federal court precedent through statements
made by the PA PUC’s Paul Metro with respect to these very reports.33 Specific to the
consequence modeling in the Stantec Report and Stantec Final Report—which contains the very
passages that SPLP seeks to protect from disclosure under FOIA by PHMSA—former PA PUC
Pipeline Safety Chief, Paul Metro, declared in an affidavit:

        In my professional opinion, release of the requested records would compromise
        security against sabotage or criminal or terroristic acts regarding pipeline facilities
        by illustrating the extent of the impact zone, including casualty and damage
        assessments at various ranges, regarding an accident (or sabotage event) on a
        pipeline. These Reports and Inspection Reports explicitly provide how such an
        assessment can be made (as well as the assessment for this particular pipeline,
        and particularly on these Sunoco pipelines, as they contain the specific operating
        parameters of the pipelines) to cause the greatest possible harm and mass
        destruction to the public living near such facilities.34

Further, the vulnerability of pipelines to physical attacks has been recognized by the government
and industry alike. In November 7, 2019, a classified briefing among federal agencies and the
oil and gas industry recognized “U.S. patented information and technology, particularly in the
pipeline energy sector, as a target of foreign governments and companies seeking to increase
their scientific, military, and economic advantages.”35 These types of threats were reemphasized

31 Id. at 2, 4 (citing Pub. Emps. For Envtl. Resp., 740 F.3d at 206 (approving withholding of inundation maps

because of concern that terrorists could use the information in maps to cause flooding and destruction in
populated areas)).
32 In PHMSA’s Nov. 6th letter (Attachment 6), PHMSA suggests that the consequence modeling contained

in the Stantec reports might be “generic” to more than some arbitrarily defined length of pipeline and further
that the information in the reports might “otherwise be obtained from public sources.” Both of these claims
are factually incorrect. More importantly, the plain text of Exemption 7(F) does not impose a separate
confidentiality requirement like that in Exemption 4. Information loses its exempt status only if it is
completely beyond doubt that the “exact information at issue” is fully available to the public. Greenpeace,
Inc. v. DHS, 311 F. Supp. 3d 110, 130-31 (D.D.C. 2018) (internal quotation marks omitted) (rejecting an
argument that information on chemical facilities should be disclosed because “the public already has access
to information about many of these facilities and the chemicals they hold from various public sources
(including the EPA)”).
33 See, e.g., Living Rivers, Inc. v. U.S. Bureau of Reclamation, 272 F. Supp. 2d 1313, 1321-22 (D. Utah

2003) (sustaining an Exemption 7(F) claim on the basis of an affidavit that inundation maps could be used
by bad actors as a roadmap to cause harm by flooding and destroying populated areas).

34 Attachment 8 (emphasis added).


35
  FBI (2019). FBI and Federal Partners Brief Pipeline Industry Leaders on National Security Threats to
Energy       Infrastructure.    [online]      Available      at:      https://www.fbi.gov/contact-us/field-
offices/houston/news/press-releases/fbi-and-federal-partners-brief-pipeline-industry-leaders-on-national-
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just several days prior to this filing, in a National Terrorism Advisory Bulletin issued by the
Department of Homeland Security highlighting Iran’s abilities to carry out critical infrastructure
and cyber enabled attacks, stating that “Iran is capable, at a minimum, of carrying out attacks
with temporary disruptive effects against critical infrastructure in the United States.”36

Last year, the Government Accountability Office similarly acknowledged:

        According to [the Transportation Security Administration within the Department
        of Homeland Security], pipelines are vulnerable to physical attacks—including
        the use of firearms or explosives—largely due to their stationary nature, the
        volatility of transported products, and the dispersed nature of pipeline networks
        spanning urban and outlying areas. The nature of the transported commodity and
        the potential effect of an attack on national security, commerce, and public health
        make some pipelines and their assets more attractive targets for attack. Oil and
        gas pipelines have been and continue to be targeted by terrorists and other
        malicious groups globally.37

Courts have held that the information that SPLP is seeking to protect is exempt from FOIA
disclosure for homeland security purposes.38 It is for that very reason that the Company
maintains this information as confidential, sensitive security information. In fact, this same
information has been consistently maintained as exempt from disclosure under Pennsylvania’s




security-threats-to-energy-infrastructure [Accessed 3 Jan. 2020] (reporting on a Nov. 7, 2019, meeting
where representatives from the FBI, National Counterintelligence and Security Center, the U.S. Department
of Energy, the Federal Energy Regulatory Commission, the Transportation Security Administration, the U.S.
Department of Homeland Security, and leaders of pipeline and oil and gas companies met for a classified
briefing about physical and cyber threats to U.S. energy infrastructure).
36 U.S. Department of Homeland Security, National Terrorism Advisory System Bulletin (Jan. 4, 2020)

(emphasis added). The Bulletin further stated that “Previous homeland-based plots have included, among
other things, scouting and planning against infrastructure targets and cyber enabled attacks against a range
of U.S.-based targets” and that “Iran maintains a robust cyber program and can execute cyber attacks
against the United States.” Id.

37 U.S. Gov’t Accountability Off., GAO-19-48, Critical Infrastructure Protection Actions Needed to Address

Significant Weaknesses in TSA’s Pipeline Security Program Management, pp. 10-11 (Dec. 2018).
(emphasis added), available at https://www.gao.gov/assets/700/696123.pdf.

38 See, e.g., Standing Rock Sioux Tribe v. U.S. Army Corps of Engineers, 249 F. Supp. 516, 522-23 (D.D.C.

2017) (protecting spill model reports under Exemption 7(F) because they might facilitate “intentionally
inflicted harm”); see also Pub. Emps. For Envtl. Resp., 740 F.3d at 206 (“[Disclosing the maps would give
anyone seeking to cause harm ‘the ability to deduce the zones and populations most affected by dam
failure[,]’” and “[t]errorists or criminals could use that information to determine whether attacking a dam
would be worthwhile, which dam would provide the most attractive target, and what the likely effect of a
dam break would be.”); Greenpeace, Inc., 311 F. Supp. 3d at 128 (noting a common theme in Exemption
7(F) case law is “highly useful information for terrorists planning attacks on” facilities).
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state freedom of information act laws. Further, PHMSA itself redacts this type of information
from Facility Response Plans.39

Conclusion

The facts and the law are clear in this instance. Commercial sensitive security information
submitted previously by SPLP with a claim for protection under FOIA as confidential is entitled
to be maintained as such by PHMSA under FOIA Exemptions 4 and 7(F). That conclusion is
made clear by existing statutes, regulations, and case law including recent Supreme Court
precedent. It is also consistent with PHMSA’s own precedent, policies and procedures.

The Company believes it has already provided ample explanation of “all grounds for invocation”
of FOIA Exemptions 4 and 7(F). If this matter cannot be resolved amicably, SPLP believes the
issues are important enough to the industry and the legal community to seek judicial review. We
are of course always available to meet to discuss further if helpful, and we look forward to hearing
from you.

                                                                 Sincerely,



                                                                 Catherine D. Little

cc:     Greg Mcilwain (Sr. Vice President of Operations, Energy Transfer)
        Curt Stambaugh, Esq. (Assistant General Counsel, Energy Transfer)
        Annie Cook, Esq. (Troutman Sanders)

Attachments:
1. Letter to PHMSA from SPLP submitting the Stantec Report (Jul. 6, 2018) (without
   attachments)
2. Letter to PHMSA from SPLP submitting the Stantec Final Report (Nov. 2, 2018) (without
   attachments)
3. E-mail to PHMSA from Troutman Sanders on behalf of SPLP (Jun. 5, 2019) (without
   attachments)
4. E-mail to Troutman Sanders on behalf of SPLP from PHMSA (Jun. 19, 2019) (without
   attachments)
5. Letter to PHMSA from Troutman Sanders on behalf of SPLP (Jun. 24, 2019) (without
   attachments)
6. Letter to Troutman Sanders on behalf of SPLP from PHMSA (Nov. 6, 2019) (without
   attachments)
7. Letter to PHMSA from Troutman Sanders on behalf of SPLP (Nov. 14, 2019) (with
   attachments)
8. OOR Docket AP 2019-0502, Affidavit of Paul J. Metro (Apr. 15, 2019) (without attachments)



39 See PHMSA Facility Response Plan Policy, PHMSA 2050.1A (effective Jun. 27, 2014) (explaining that

PHMSA redacts, among other things, illustrations identifying HCAs, description or boundaries of HCAs as
well as threat scenarios and response capacity values that can be used to calculate worst case discharge).
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                         Attachment N
      PHMSA Denial of FOIA Request No. 2020-0044
                   (Sep. 30, 2020)
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      U.S. Department                                                                      1200 New Jersey Avenue, S.E.
      of Transportation                                                                         Washington, D.C. 20590


      Pipeline and Hazardous
      Materials Safety Administration




                                                                                                         9/30/2020
                                                                                   FOIA Control Number: 2020-0044



  Transmitted via Electronic Mail – Read Receipt Requested
  Eric Friedman
  Middletown Coalition for Community Safety
(b) (6)




  Dear Mr. Friedman:

  This letter responds to your Freedom of Information Act (FOIA) request dated 12/4/2019 and received
  in the Pipeline and Hazardous Materials Safety Administration's (PHMSA's) FOIA Office on 12/5/2019.
  You requested an unredacted copy of the Notice of Probable Violation (NOPV) issued in CPF No. 1-
  2019-5006 to Sunoco Pipeline, L.P. (Sunoco) on 5/17/2019. Sunoco redacted: (1) the distance to the
  lower flammable limit (LFL); (2) the maximum predicted distance to thermal radiation consequences;
  and (3) the maximum predicted spill extent.1

  To evaluate the confidential nature of the information, PHMSA initiated a consultation with Sunoco on
  December 20, 2019 pursuant to the Department of Transportation’s FOIA regulations, 49 C.F.R. § 7.29.
  PHMSA requested that Sunoco evaluate the information under Food Marketing Institute v. Argus Leader
  Media, 139 S. Ct. 2356 (2019). In Argus Leader, the Court held that “at least where commercial or
  financial information is both customarily and actually treated as private by its owner and provided to the
  government under an assurance of privacy, the information is ‘confidential’ within the meaning of
  Exemption 4.” 139 S. Ct. at 2366. Furthermore, PHMSA requested that Sunoco evaluate the information

  1
    As evidentiary support for the allegation that Sunoco failed to tailor its public awareness communications coverage area
  (buffer) to fits its particular pipeline, location, and potential impact consequences, PHMSA quoted three excerpts from two
  reports Sunoco had provided during the inspection. Specifically, on page 4 of the Notice, PHMSA quoted two sentences from
  the report, “Hazard Assessment of the Proposed Mariner East 2 Pipeline” (Mar. 27, 2017) (Stantec Report). Sunoco
  designated each page of the Stantec Report as “Proprietary and Confidential Information.” On page 5 of the Notice, PHMSA
  quoted two excerpts (two and three sentences, respectively) from the report, “Energy Transfer: Mariner East 2 Pipeline Re-
  Route near Chester and Delaware, Pennsylvania – Butane Spill Assessment; Final report” (Oct 15, 2018) (Stantec Final
  Report). Sunoco designated every page of the Stantec Final Report as “Proprietary and Confidential Information.
  Confidential Information not subject to Disclosure to third parties under the provisions and procedures specified in ‘The
  Public Utility Confidential Security Information Disclosure Protection Act; (35 P.S. §§ 2141.1 to 2141.6) and the PUC’s
  regulations implementing such Act at 52 Pa. Code §§ 102.1 – 102.4.”
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using the Department of Justice’s (DOJ’s) Exemption 4 guidance issued following Argus Leader, available
at      https://www.justice.gov/oip/exemption-4-after-supreme-courts-ruling-food-marketing-institute-v-
argus-leader-media.

Sunoco responded to PHMSA on January 7, 2020 with justification to withhold the information under
FOIA Exemption 4. Sunoco applied the Argus Leader test, as set forth in the DOJ guidance, arguing
that the information is commercial information that meets the criteria for “confidential” under FOIA
Exemption 4. Based on the justification from Sunoco, your request for the information redacted in the
NOPV by Sunoco is denied because that information qualifies for protection under FOIA Exemption 4.
See 5 U.S.C. § 552(b)(4) (protecting from release “trade secrets and commercial or financial information
obtained from a person [that is] privileged or confidential”). By this response to you, PHMSA does not
claim any additional FOIA exemptions.

Because we have denied your request under FOIA Exemption 4, you may consider this determination a
denial of your record request and file an appeal. See Department of Transportation’s FOIA regulations,
49 C.F.R. § 7.32(d). I am the official responsible for this determination.

If you choose to appeal, your appeal must be made in writing and postmarked or transmitted within
ninety calendar days from the date of the final response. In order to be considered an official appeal, it
must be addressed as follows:

                                          Howard R. Elliott
                Administrator, Pipeline and Hazardous Materials Safety Administration
                                     1200 New Jersey Avenue, SE
                                        Washington, DC 20590

Both the appeal and the envelope should be plainly marked “FOIA APPEAL.” Please make reference
to your assigned FOIA Control Number 2020-0044 so that we may identify your case promptly. In
addition, you should include all information and arguments that form the basis of your appeal. For more
information on your right to an administrative appeal, refer to the Department’s FOIA regulations, 49
C.F.R. § 7.32(d).

Furthermore, the 2007 FOIA amendments created the Office of Government Information Services
(OGIS) to offer mediation services to resolve disputes between FOIA requesters and Federal agencies
as a non-exclusive alternative to litigation. Using OGIS services does not affect your right to pursue
litigation, nor does it affect the timing of filing an appeal. You may contact OGIS in any of the following
ways:
                       Office of Government Information Services
                       National Archives and Records Administration
                       8601 Adelphi Road - OGIS
                       College Park, MD 20740-6001
                       E-mail: ogis@nara.gov
                       Web: https://ogis.archives.gov
                       Telephone: 202-741-5770
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                     Fax: 202-741-5769
                     Toll-free: 1-877-684-6448
This concludes our response to your request. If you have any questions, you may contact Madeline Van
Nostrand, FOIA Officer, by phone at 202-366-0273 or by email to PHMSA.FOIA@dot.gov. You also
may seek the services of our FOIA Public Liaison, Darius Kirkwood, Office of Governmental,
International and Public Affairs, by phone at 202-366-4831 or by email to phmsapublicaffairs@dot.gov.




                                           Sincerely,
                                            MADELINE M VAN                    Digitally signed by MADELINE M
                                                                              VAN NOSTRAND
                                            NOSTRAND                          Date: 2020.09.29 21:57:36 -04'00'
                                           FOIA Officer, Office of Chief Counsel
                                           Pipeline and Hazardous Materials Safety Administration (PHMSA)
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 81 of 109




                         Attachment O
      PHMSA Denial of FOIA Request No. 2020-0012
                   (Sep. 30, 2020)
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    U.S. Department                                                                      1200 New Jersey Avenue, S.E.
    of Transportation                                                                         Washington, D.C. 20590


    Pipeline and Hazardous
    Materials Safety Administration




                                                                                                       9/30/2020
                                                                                 FOIA Control Number: 2020-0112



Transmitted via Electronic Mail – Read Receipt Requested
Mike Soraghan
E&E News
801 N. Trade St.
Winston-Salem, NC 27101

Dear Mr. Soraghan:

This letter responds to your Freedom of Information Act (FOIA) request dated 3/4/2020 and received in
the Pipeline and Hazardous Materials Safety Administration's (PHMSA's) FOIA Office on 3/5/2020.
You requested an unredacted copy of the Notice of Probable Violation (NOPV) issued in CPF No. 1-
2019-5006 to Sunoco Pipeline, L.P. (Sunoco) on 5/17/2019. Sunoco redacted: (1) the distance to the
lower flammable limit (LFL); (2) the maximum predicted distance to thermal radiation consequences;
and (3) the maximum predicted spill extent. 1

To evaluate the confidential nature of the information, PHMSA initiated a consultation with Sunoco on
December 20, 2019 pursuant to the Department of Transportation’s FOIA regulations, 49 C.F.R. § 7.29.
PHMSA requested that Sunoco evaluate the information under Food Marketing Institute v. Argus Leader
Media, 139 S. Ct. 2356 (2019). In Argus Leader, the Court held that “at least where commercial or
financial information is both customarily and actually treated as private by its owner and provided to the
government under an assurance of privacy, the information is ‘confidential’ within the meaning of
Exemption 4.” 139 S. Ct. at 2366. Furthermore, PHMSA requested that Sunoco evaluate the information

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  As evidentiary support for the allegation that Sunoco failed to tailor its public awareness communications coverage area
(buffer) to fits its particular pipeline, location, and potential impact consequences, PHMSA quoted three excerpts from two
reports Sunoco had provided during the inspection. Specifically, on page 4 of the Notice, PHMSA quoted two sentences from
the report, “Hazard Assessment of the Proposed Mariner East 2 Pipeline” (Mar. 27, 2017) (Stantec Report). Sunoco
designated each page of the Stantec Report as “Proprietary and Confidential Information.” On page 5 of the Notice, PHMSA
quoted two excerpts (two and three sentences, respectively) from the report, “Energy Transfer: Mariner East 2 Pipeline Re-
Route near Chester and Delaware, Pennsylvania – Butane Spill Assessment; Final report” (Oct 15, 2018) (Stantec Final
Report). Sunoco designated every page of the Stantec Final Report as “Proprietary and Confidential Information.
Confidential Information not subject to Disclosure to third parties under the provisions and procedures specified in ‘The
Public Utility Confidential Security Information Disclosure Protection Act; (35 P.S. §§ 2141.1 to 2141.6) and the PUC’s
regulations implementing such Act at 52 Pa. Code §§ 102.1 – 102.4.”
            Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 83 of 109
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using the Department of Justice’s (DOJ’s) Exemption 4 guidance issued following Argus Leader, available
at      https://www.justice.gov/oip/exemption-4-after-supreme-courts-ruling-food-marketing-institute-v-
argus-leader-media.

Sunoco responded to PHMSA on January 7, 2020 with justification to withhold the information under
FOIA Exemption 4. Sunoco applied the Argus Leader test, as set forth in the DOJ guidance, arguing
that the information is commercial information that meets the criteria for “confidential” under FOIA
Exemption 4. Based on the justification from Sunoco, your request for the information redacted in the
NOPV by Sunoco is denied because that information qualifies for protection under FOIA Exemption 4.
See 5 U.S.C. § 552(b)(4) (protecting from release “trade secrets and commercial or financial information
obtained from a person [that is] privileged or confidential”). By this response to you, PHMSA does not
claim any additional FOIA exemptions.

Because we have denied your request under FOIA Exemption 4, you may consider this determination a
denial of your record request and file an appeal. See Department of Transportation’s FOIA regulations,
49 C.F.R. § 7.32(d). I am the official responsible for this determination.

If you choose to appeal, your appeal must be made in writing and postmarked or transmitted within
ninety calendar days from the date of the final response. In order to be considered an official appeal, it
must be addressed as follows:

                                          Howard R. Elliott
                Administrator, Pipeline and Hazardous Materials Safety Administration
                                     1200 New Jersey Avenue, SE
                                        Washington, DC 20590

Both the appeal and the envelope should be plainly marked “FOIA APPEAL.” Please make reference
to your assigned FOIA Control Number 2020-0112 so that we may identify your case promptly. In
addition, you should include all information and arguments that form the basis of your appeal. For more
information on your right to an administrative appeal, refer to the Department’s FOIA regulations, 49
C.F.R. § 7.32(d).

Furthermore, the 2007 FOIA amendments created the Office of Government Information Services
(OGIS) to offer mediation services to resolve disputes between FOIA requesters and Federal agencies
as a non-exclusive alternative to litigation. Using OGIS services does not affect your right to pursue
litigation, nor does it affect the timing of filing an appeal. You may contact OGIS in any of the following
ways:
                               Office of Government Information Services
                               National Archives and Records Administration
                               8601 Adelphi Road - OGIS
                               College Park, MD 20740-6001
                               E-mail: ogis@nara.gov
                               Web: https://ogis.archives.gov
                               Telephone: 202-741-5770
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                             Fax: 202-741-5769
                             Toll-free: 1-877-684-6448
This concludes our response to your request. If you have any questions, you may contact Madeline Van
Nostrand, FOIA Officer, by phone at 202-366-0273 or by email to PHMSA.FOIA@dot.gov. You also
may seek the services of our FOIA Public Liaison, Darius Kirkwood, Office of Governmental,
International and Public Affairs, by phone at 202-366-4831 or by email to phmsapublicaffairs@dot.gov.




                                           Sincerely,
                                            MADELINE M                       Digitally signed by MADELINE M
                                                                             VAN NOSTRAND
                                            VAN NOSTRAND                     Date: 2020.09.29 21:28:46 -04'00'
                                           FOIA Officer, Office of Chief Counsel
                                           Pipeline and Hazardous Materials Safety Administration (PHMSA)
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 85 of 109




                         Attachment P
                         FOIA Appeal
                        (Nov. 12, 2020)
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 86 of 109




   Nov. 12, 2020

   Howard R. Elliott
   Administrator
   Pipeline and Hazardous Materials Safety Administration
   1200 New Jersey Avenue, SE
   Washington, DC 20590

   RE: Freedom of Information Act Appeal – 2020-0112



   Administrator Elliott,

   Pursuant to the federal Freedom of Information Act, 5 U.S.C. s. 552, I appeal the
   denial of my March 4, 2020 Freedom of Information Act request, Control Number:
   2020-0112.

   I requested an unredacted version of the Notice of Probable Violation in CPF 1-
   2019-5006. At least three redactions in the document are marked "Sunoco
   Redaction." The redacted version is available online at this link:
   https://primis.phmsa.dot.gov/comm/reports/enforce/documents/120195006/120195006_NOPV%20PCO_05172019.pdf.


   My request was denied in a letter forwarded by email Sept. 30, 2020. Little
   reasoning was provided.

   I find it remarkable that a law enforcement agency would take direction from an
   entity that it believes has violated rules related to public safety. It is even more
   remarkable to see this when the subject information concerns how many members of
   the public would be impacted (i.e. harmed) by an incendiary explosion.

   It is also important to note that FOIA provisions such as Exemption 4 only allow
   withholding. They do not require it.

   The operator here is not demanding this redaction because the information somehow
   constitutes a "trade secret." Instead, the most likely reason is the political problems
   the company has encountered with opponents, along with state and local regulators,
   who have questioned the safety plan for the project
   (http://www.puc.pa.gov/about_puc/consolidated_case_view.aspx?Docket=C-2018-3006116).

   In any event, the information withheld by the redaction is not exempt and should be
   provided to me and to the public. To say that the information satisfies the conditions
   for being exempt from disclosure under Exemption 4 ignores both recent case law
   and clear statutory language.


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   To be exempt under this provision, Section 552(a)(8) of the statute requires the
   agency to weigh whether it "reasonably foresees that disclosure would harm" a
   protected interest. "Foreseeable harm" is the first of a four-part test which must be
   applied. The agency offers no indication of how it meets this test, nor any indication
   that it undertook this test. If the agency had done so, it would find it does not meet
   this test.

   Such foreseeable harm must go beyond embarrassment and potential public
   disapproval. It must entail substantial harm to the competitive position of the person
   from whom the information is obtained, not simply embarrassment. There is no
   indication such harm is foreseeable.

   This section of the statute was changed by Congress after the FOIA request was filed
   that later led to the decision in Food Marketing Institute v. Argus Leader Media, 139
   S. Ct. 2356 (2019). The Argus Leader decision therefore does not account for the
   high bar for withholding that Congress added to the statute.

   The agency's denial letter states it asked Sunoco to evaluate the information under
   Argus Leader, and the company did so. The denial letter did not state how the
   agency arrived at its decision beyond accepting the company's application of the
   Argus Leader test. As I stated above, this is not the relevant standard in the wake of
   the 2016 changes to the statute enacted by Congress.

   The denial letter states that "PHMSA requested that Sunoco evaluate the information
   under Food Marketing Institute v. Argus Leader Media, 139 S. Ct. 2356 (2019).
   I am surprised that the agency would predetermine what analysis should be used, as
   it indicates that the agency had already decided that the information should not be
   released.

   Argus Leader applied to "commercial or financial information." It protected the
   information provider's competitive position. The subject information does not meet
   any of these criteria. It is safety information.

   Beyond ignoring statutory language, the denial of my request dismisses the judgment
   of the agency's safety experts. PHMSA officials know when they draft these
   documents that they are to be posted online. Therefore, they would weigh the safety
   implications prior to posting any such information. They apparently did not see a
   safety or security problem in releasing this information unredacted. It is
   extraordinary for the agency's FOIA officials to dismiss the judgment of their own
   safety experts simply at the word of a violator.

   To this point, I would note safety enforcement is common for this regulated entity.
   This is one of four enforcement actions against this project alone. Overall, there have
   been 50 enforcement actions against this company since 2012. To accept the word of

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   a violator on the very document laying out its violations undermines the agency's
   credibility.

   FOIA is a government policy to promote disclosure. In the important work of
   maintaining pipeline safety, PHMSA should give considerable heed to the
   presumption of openness that rests at the heart of the FOIA statute.

   I have attached a copy of the agency's denial letter. I trust that upon examination of
   these communications you will conclude that these redactions should be removed
   and the records fully disclosed.

   As provided for in the act, I will expect to receive a reply within 20 days. Thank you
   for your assistance.



   Sincerely,



   Mike Soraghan
   E&E News reporter
   msoraghan@eenews.net
   202-709-3699 (office and mobile)
   @MikeSoraghan
   122 C St. NW, Seventh Floor
   Washington, DC, 20001

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                         Attachment Q
Letter to Troutman Pepper on behalf of Sunoco from PHMSA
                      (Dec. 9, 2020)
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 U.S. Department                                                                1200 New Jersey Avenue, S.E.
 of Transportation                                                                   Washington, D.C. 20590


 Pipeline and Hazardous
 Materials Safety Administration




                                                                                                12/9/2020



Transmitted via Electronic Mail to Catherine.Little@Troutman.com – Read Receipt Requested
Catherine Little
Troutman Sanders LLP
600 Peachtree Street NE, Suite 3000
Atlanta, GA 30308-2216

Dear Ms. Little:

This letter is regarding a Freedom of Information Act (FOIA) appeal received by the Pipeline and
Hazardous Materials Safety Administration (PHMSA) on November 13, 2020, which concerns
Sunoco Pipeline, L.P. (Sunoco). This appeal, which followed PHMSA’s denial of an initial FOIA
request on September 30, 2020, seeks an unredacted copy of the Notice of Probable Violation
(NOPV) issued in CPF No. 1-2019-5006 to Sunoco on May 17, 2019.

As part of the FOIA appeal review process, PHMSA must evaluate whether the information that was
redacted from the NOPV (i.e., (1) the distance to the lower flammable limit; (2) the maximum
predicted distance to thermal radiation consequences; and (3) the maximum predicted spill extent)
was properly withheld. The FOIA Improvement Act of 2016, states, in part, that agencies “shall
withhold information” under the FOIA “only if the agency reasonably foresees that disclosure would
harm an interest protected by an exemption” or “disclosure is prohibited by law.” 5 U.S.C. §
552(a)(8)(A). Accordingly, PHMSA requests that Sunoco provide a written explanation of any harm
that it would suffer if the unredacted NOPV issued in CPF No. 1-2019-5006 were to be disclosed.
In light of the deadlines associated with FOIA appeals, PHMSA requests that Sunoco provide this
information no later than seven business days from the date of this letter.

If you have any questions regarding this matter, please feel free to contact me at
amal.deria@dot.gov.



                                              Sincerely,
                                              AMAL MOHAMED Digitally signed by AMAL
                                                           MOHAMED DERIA
                                              DERIA        Date: 2020.12.09 13:11:44 -05'00'

                                              Office of Chief Counsel
                                              Pipeline and Hazardous Materials Safety Administration
                                              (PHMSA)
Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 91 of 109




                         Attachment R
Letter to PHMSA from Troutman Pepper on behalf of Sunoco
                    (Dec. 18, 2020)
        Case 1:21-cv-01760-TSC Document 1-1 Filed 06/30/21 Page 92 of 109
Troutman Pepper Hamilton Sanders LLP
600 Peachtree Street NE, Suite 3000
Atlanta, GA 30308-2216

troutman.com



Catherine D. Little
D 404.885.3056
catherine.little@troutman.com




December 18, 2020
VIA ELECTRONIC MAIL

Amal Deria, Esq.
Attorney Advisor
Office of Chief Counsel
US Department of Transportation
Pipeline and Hazardous Materials Safety Administration
1200 New Jersey Ave, Washington, DC 20590

Re:     Sunoco Pipeline, L.P.
        PHMSA FOIA Case No. 2020-0112
        Further Justification to Withhold Confidential and Security Sensitive Information

Dear Attorney Deria:

On behalf of Sunoco Pipeline, L.P. (“SPLP” or the “Company”), this is to respond to your
correspondence dated December 9, 2020, in which you request that Sunoco “provide a written
explanation of any harm that it would suffer if the unredacted NOPV [Notice of Probable Violation]
issued in CPF No. 1-2019-5006 were to be disclosed.” As substantiated in detail in prior
correspondence from SPLP to PHMSA including that dated January 7, 2020,1 and as clearly
supported by both the facts and the law, release of the redacted information would cause
substantial and reasonably foreseeable harm to SPLP that is germane to the interests protected
by both Exemption 4 and Exemption 7(F) of the Freedom of Information Act (“FOIA”). See 5
U.S.C. § 552(a)(8)(A)(i)(I), (b)(4), (7)(F).

The information redacted in the NOPV relates to detailed dispersion and consequence modeling
distances for releases from the Mariner East 2 pipeline project, specifically including the maximum
distance to the lower flammable limit, the maximum predicted distances to thermal radiation
consequences, and spill modeling distances. Each of these items is expressed in terms of the
precise distance in feet from the pipeline, and, for that reason, the reasonably foreseeable harm



1 The NOPV as issued by PHMSA included excerpted quotes from dispersion and consequence analysis

modelling reports that were provided by SPLP to PHMSA on the condition that they would be maintained
as confidential and proprietary pursuant to federal FOIA exemptions protecting confidential business and
sensitive security information and SPLP marked the documents accordingly. Upon receipt of the NOPV,
SPLP promptly raised concerns to PHMSA regarding these excerpts in June and July 2019 and objected
to their disclosure based on statutory protection under express FOIA exemptions.
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Amal Deria, Esq.
December 18, 2020
Page 2




from disclosing each item is substantially the same.2 See id. § 552(a)(8)(A)(i)(I). As described
below, disclosure of this information is reasonably foreseeable to cause harm in two primary
respects: to public safety and to the Company’s commercial interests.

Reasonably Foreseeable Public Safety Harm

The release of the precise consequence modeling distances would threaten individual safety, the
core purpose of FOIA Exemption 7(F). See id. § 552(b)(7)(F). As explained in SPLP’s January
7, 2020 letter, any of the three types of consequence modeling distances is some of the most
sensitive confidential security information that is protected for homeland security purposes, and
release of that information would facilitate — and therefore might encourage — sabotage,
damage, or harm to the pipeline.3 A hostile actor could use the redacted information as a roadmap
to determine where or how an attack would cause the greatest harm, a fact well recognized by
former Pennsylvania Public Utility Commission Pipeline Safety Chief who noted “release of the
requested records would compromise security against sabotage or criminal or terroristic acts
regarding pipelines facilities by illustrating the extent of the impact zone, including casualty and
damage assessments at various ranges, regarding an accident (or sabotage event).”4

Because sensitive information of this nature might incentivize such attacks, federal courts have
repeatedly recognized the harm caused by disclosing information about the consequences of
attacks on or accidents at critical infrastructure, such as pipelines, because spill modelling might
facilitate “intentionally inflicted harm.” 5 The harm in this case is only magnified by the
complementary nature of the three redacted modeling results. The incentive for hostile activity
created by disclosure is sufficient on its own to make the risk to safety foreseeable. See 5 U.S.C.
§ 552(a)(8)(A)(i)(I). The foreseeability of this harm with respect to pipelines has been
independently confirmed by the Federal Bureau of Investigation, the Department of Homeland




2 See Rosenberg v. U.S. Dep’t of Def., 342 F. Supp. 3d 62, 79 (D.D.C. 2018) (“[T]he court does not read

the statutory ‘foreseeable harm’ requirement to go so far as to require the government to identify harm likely
to result from disclosure of each of its Exemption 5 withholdings. A categorical approach will do.”).

3 Letter from Troutman Sanders LLP to Madeline M. Van Nostrand, PHMSA FOIA Officer, at 7-8 (Jan. 7,

2020).

4 See id. at 8; see also id. Attachment 8.


5 See Pub. Emps. for Env’t Resp. v. U.S. Section, Int’l Boundary & Water Comm’n, 740 F.3d 195, 206 (D.C.

Cir. 2014) (exempting inundation maps depicting consequences of dam failure); Greenpeace, Inc. v. Dep’t
of Homeland Sec’y, 311 F. Supp. 3d 110, 128-30 (D.D.C. 2018) (attacks at chemical facilities); Standing
Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 249 F. Supp. 3d 516, 522-23 (D.D.C. 2017) (pipeline spill
modeling); Living Rivers, Inc. v. U.S. Bureau of Reclamation, 272 F. Supp. 2d 1313, 1321-22 (D. Utah
2003) (dam inundation maps).
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Amal Deria, Esq.
December 18, 2020
Page 3




Security, and the Governmental Accountability Office, as laid out in SPLP’s prior
correspondence.6

Reasonably Foreseeable Harm to Confidentiality or Commercial Interests

As an initial matter, the question of whether FOIA Exemption 4 requires a showing of reasonably
foreseeable harm beyond the confidential nature of the information itself is not settled. One
federal court has concluded that, under “the plain and ordinary meaning of Exemption 4[,]” “the
relevant protected interest is that of the information’s confidentiality — that is, its private nature.”7
Consequently, “[d]isclosure would necessarily destroy the private nature of the information, no
matter the circumstance.”8 That conclusion holds in this case, too.

Disclosure would also cause reasonably foreseeably harm even if the interests protected by
Exemption 4 are read more expansively to include, for instance, SPLP’s commercial interests.9
See id. § 552(b)(4). Of course, any increased risk of hostile action against one of SPLP’s
pipelines is not only a risk to individual safety (the most important concern), but also harm to the
Company’s commercial interest in the project. Even beyond the threat of physical harm, however,
disclosure of this information can still harm SPLP’s commercial interests. Again, as explained in
prior correspondence to PHMSA, third-party actors clearly intend to deploy certain safety-related
information about this project to delay, object to, or interfere with regulatory approvals.10 Given
the commercial and sensitive nature of the information at issue, it is consistently and customarily
maintained as private and closely held by SPLP, as well as the entire pipeline industry and even
State agencies. As such, SPLP clearly designates this information as “Proprietary and
Confidential” when it is submitted to governmental agencies consistent with federal laws.11

6 See Letter from Troutman Sanders LLP to Madeline M. Van Nostrand, PHMSA FOIA Officer, at 4, 4 n.16,

8-9, 8-9 nn.35-37 (Jan. 7, 2020).

7 Am. Small Bus. League v. U.S. Dep’t of Def., 411 F. Supp. 3d 824, 836 (N.D. Cal. 2019).


8 Id.


9 Cf. Ctr. for Invest. Reporting v. U.S. Customs & Border Prot., 436 F. Supp. 3d 90, 113 (D.D.C. 2019)

(suggesting that the foreseeable-harm standard might require impacts to the submitter’s economic interests
under Exemption 4).

10 See id. at 4, 4 n.17 (citing Pub. Citizen Health Rsch. Grp. v. FDA, 704 F.2d 1280, 1290 (D.C. Cir. 1983)).


11 The requester of this information has previously asserted that “distance vs. hazard calculations have

been widely discussed in the community around the pipeline including in public government reports[.]”
Letter from Mike Soraghan, E&E News, to Madeline Van Nostrand, PHMSA at 1 (Mar. 4, 2020). The
requester links to a November 28, 2018 report prepared by G2 Integrated Solutions for the County of
Delaware, Pennsylvania. The report cited by the requester is a completely distinct analysis prepared by a
different entity that provides only general risk assessment estimates. Nowhere does it include the results
redacted in the NOPV or results similar to those redacted in the NOPV. As such, this report has no bearing
on the exempt status of the modeling results redacted from the NOPV. To lose that status, “the ‘same
agency’ must have previously disclosed the ‘exact information’ at issue.” Greenpeace, Inc. v. Dep’t of
Homeland Sec., 311 F. Supp. 3d 110, 131 (D.D.C. 2018) (quoting Valfells v. CIA, 717 F. Supp. 2d 110, 117
(D.D.C. 2010)).
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Amal Deria, Esq.
December 18, 2020
Page 4




Summary

As set forth above and detailed in prior correspondence, the facts and the law clearly support the
continued protection of this commercial sensitive security information under FOIA Exemptions 4
and 7(F). Further, the release of the redacted information would cause substantial and
reasonably foreseeable harm to SPLP and potentially the public. For that reason, continued
protection of this information is mandated by and consistent with existing statutes, regulations,
case law, and PHMSA’s own precedent, policies and procedures.

Should you have any further questions, please let us know.

Sincerely,


Catherine D. Little

Enclosure

cc:    Greg Mcilwain (Sr. Vice President of Operations, Energy Transfer)
       Curt Stambaugh, Esq. (Assistant General Counsel, Energy Transfer)
       Annie Cook, Esq. (Troutman Pepper)
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                         Attachment S
                         FOIA Appeal
                        (Dec. 30, 2020)
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                                                                                                  2


and Delaware, Pennsylvania – Butane Spill Assessment; Final report” (Oct 15, 2018) (Stantec
Final Report).”

Discussion.

PHMSA made these quotes a part of the record by including them in an NOPV. It is
unprecedented, to the best of my knowledge, for PHMSA to withhold an NOPV from public
view. It appears that what happened is that Sunoco claimed post hoc that the quoted sections of
these reports were confidential and should be withheld from public view. If this is the case, I
respectfully disagree for the following reasons, which I respectfully reserve the right to
supplement in the future as new information becomes available.

   1. As stated above, it appears that this is the first time that PHMSA has ever withheld an
      NOPV from public view. This conflicts with the commitment to openness regarding
      regulatory violations embodied in PHMSA’s “Enforcement Transparency” website.

   2. PHMSA consulted with Sunoco regarding my request and evidently allowed it to assert
      arguments for why the redacted sections should be withheld. I requested a copy of
      Sunoco’s objections so that I could respond to whatever arguments it made. Sunoco
      objected to the release of its objections to me. Ultimately, PHMSA chose to withhold
      these objections and to treat my request for them as a new FOIA request. PHMSA has
      still not adjudicated this subsequent FOIA request (meaning it has neither been granted
      nor denied). Nevertheless, as of this writing, I have not been provided Sunoco’s
      objections to my FOIA request, nor its objections to the release of its objections.

   3. In footnote 1 of its denial of my request, PHMSA states “Sunoco designated every page
      of the Stantec Final Report as “Proprietary and Confidential Information. Confidential
      Information not subject to Disclosure to third parties under the provisions and procedures
      specified in ‘The Public Utility Confidential Security Information Disclosure Protection
      Act; (35 P.S. §§ 2141.1 to 2141.6) and the [Pennsylvania] PUC’s [Public Utility
      Commission] regulations implementing such Act at 52 Pa. Code §§ 102.1 – 102.4.”” But
      PHMSA is not subject to Pennsylvania state statutes nor to regulations of the
      Pennsylvania Public Utility Commission. Any designation by Sunoco under those laws or
      statutes are not binding upon PHMSA; nor is PHMSA even in a position to determine
      whether such a designation was even properly made under the cited authorities. In fact,
      PHMSA made the quoted sections publicly accessible under its own policies by including
      them in an NOPV. This claim was undoubtedly raised by Sunoco, but PHMSA should
      find it without merit as it is based upon authorities under which PHMSA has no
      obligations. If PHMSA relied on Pennsylvania laws or regulations in withholding the
      redacted information, I respectfully assert it did so in error.

   4. The withheld information, which pertain to the distances to which harmful or fatal effects
      or property damage can be expected in the event of continued highly volatile liquids
      releases from Sunoco pipelines, is not confidential information. There are a number of
      reports that examine these distances; for example, the so-called Citizens Risk Assessment
      of Mariner East, completed by Quest Consultants and a Risk Assessment of Mariner East
      completed by G2 Integrated Solutions and procured by Delaware County Council. Both
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                                                                                                      3


       of these reports are publicly available in their entirety. Quest used a proprietary tool
       called CANARY by Quest to estimate a 2,135 fatal impact radius; and CANARY is a
       product that Quest makes available for purchase or lease. G2 used a tool called Phast to
       model a 6,800 potential fatality zone. These numbers are in the public domain, along with
       their underlying assumptions. Sunoco’s corresponding distances are surely in the range
       modeled by these two reports. None of these figures are confidential information in the
       same sense that, for example, a company’s order book or shipping volumes might be.
       Rather, these are distances that can be modeled using commercially available off-the-
       shelf software and which depend solely upon the (nonproprietary) laws of physics and
       assumptions that can be varied by the user. Sunoco may wish to avoid acknowledging
       even the existence of what it calls the “blast radius;” its section 195.440 public awareness
       program entirely fails to communicate the extreme hazard associated with an unignited
       heavier-than-air combustible vapor cloud. However, the existence of something that
       derives from the inherently hazardous properties of highly volatile liquids and the laws of
       physics, and that can be modeled by anyone who makes the effort is not something for
       which FOIA provides an exemption.

   5. Sunoco itself has already published this information elsewhere. In a publicly available
      document it calls “EMERGENCY RESPONSE PROCEDURES MANUAL FOR
      SUNOCO PIPELINE, LP 8” ETHANE PIPELINE SARNIA, ON CANADA” (copy
      attached) Sunoco publishes details of what it calls (in this document) a “blast radius” and
      “Emergency Planning Zone” or EPZ. Regarding the EPZ associated with an 8-inch
      ethane pipeline, Sunoco writes, “The High Vapor Pressure Ethane pipeline which has a
      high vaporization rates expand into plumes of flammable vapor and follows topography
      with wind direction and will include all areas within 1.0 km (0.6 mi) of the pipeline.”
      Sunoco continues “SPLP [Sunoco] has applied the technical parameters covered in the
      EPZ analysis for HVP [high vapor pressure] pipelines and has determined that the
      following EPZ distances for the selected pipeline diameters be used…700 meters.” There
      is no basis to keep secret information that Sunoco itself has already made public in
      another location.

   6. PHMSA misapplies the Argus Leader standard. Based apparently on Sunoco’s arguments
      (which again I have neither seen nor been afforded an opportunity to address) PHMSA
      asserts that the two-part test from the Argus Leader Supreme Court case justifies the
      withholding of the redacted information under FOIA Exemption 4. But this argument is
      unavailing; in fact, neither standard articulated in Argus Leader is applicable here.

Exemption 4 protects from release “trade secrets and commercial or financial information
obtained from a person [that is] privileged or confidential.” Here, we are not dealing with
commercial or financial information; the only remaining question is it is a “trade secret.” For all
of the reasons stated above, I assert the size of the blast radius associated with Sunoco’s
proposed pipeline is no more a trade secret than the sum of 5+5 or the composition of the
atmosphere.

With respect to the first Argus Leader test, the Department of Justice writes on its website
(www.justice.gov/oip/exemption-4-after-supreme-courts-ruling-food-marketing-institute-v-
argus-leader-media) “First, in order to qualify as “confidential,” the party imparting the
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                                                                                                     4


information (i.e., the submitter) should customarily treat the information as private. As the
Supreme Court explained, "it is hard to see how information could be deemed confidential if its
owner shares it freely.” This is precisely the situation here: not only is the information that
Sunoco would like to keep secret widely and publicly available through sources like the
Delaware County Risk Assessment of Mariner East; Sunoco has itself already made this
information public in, e.g., the document cited in paragraph 5 above. Moreover, its availability
was already determined by PHMSA in the requested NOPV; PHMSA explicitly cited it in order
to justify its enforcement action. That decision should not be revisited based upon Sunoco’s
after-the-fact objections.

The second test from Argus Leader is also unavailing. Department of Justice:

                “Second Condition—Assurance of Confidentiality by Government.
                As mentioned above, while the Supreme Court’s opinion did not
                determine to what extent the second condition—an assurance of
                confidentiality by the government—must also be met, agencies
                should as a matter of sound administrative practice consider
                whether the context in which the information was provided to the
                agency reflects such an assurance.”

PHMSA conclusively demonstrated that it provided no such assurance to Sunoco when it
included the redacted material in an NOPV—a document that in all previous cases of which I am
aware PHMSA makes public promptly and in its entirety. PHMSA should not revisit this
decision afterwards. Doing so makes it impossible for the public to evaluate or make effective
use of the subject NOPV, thereby defeating the purpose of making these NOPVs public in the
first place.

Conclusion.

For the foregoing reasons, I respectfully appeal the denial of my FOIA request 2020-0044, and
request the release in its entirety of the subject NOPV. Should this appeal be denied simply on
the basis of timeliness, I respectfully request that this letter be treated as a new request under
FOIA for the subject NOPV.

Respectfully submitted,


Eric Friedman
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                         Attachment T
                 PHMSA Final Determination
                     (Jun. 24, 2021)
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    U.S. Department                                                                    1200 New Jersey Avenue, S.E.
    of Transportation                                                                  Washington, D.C. 20590


    Pipeline and Hazardous
    Materials Safety Administration

                                                                                    06/24/2021
                                              FOIA Control Numbers: 2021-0021A and 2021-0045A

Transmitted via Electronic Mail to catherine.little@troutman.com – Read Receipt Requested

Catherine D. Little
Troutman Sanders LLP
600 Peachtree Street NE, Suite 3000
Atlanta, GA 30308-2216


Dear Ms. Little:

On December 9, 2020, PHMSA informed you that a Freedom of Information Act (FOIA) appeal
had been filed related to your client, Sunoco Pipeline L.P. (Sunoco), and indicated that the agency
would be evaluating whether information redacted from a Notice of Probable Violation (NOPV),
CPF 1-2019-5006, was properly withheld. As part of the appeal review process, PHMSA requested
that Sunoco provide a written explanation of any harm that it would suffer if the NOPV was
disclosed in full. On December 18, 2020, you sent a letter responding to that request (December
18 Letter). On December 30, 2020, PHMSA received a second FOIA appeal seeking the same
unredacted NOPV.

Your December 18 Letter stated that disclosing the redacted portions of the NOPV would be
“reasonably foreseeable to cause harm to Sunoco in two primary respects: to public safety and to
the Company’s commercial interests.” December 18 Letter at 2. The December 18 Letter further
alleged that the information redacted in the NOPV should continue to be withheld because the
redacted information is “commercial sensitive security information under FOIA Exemptions 4 and
7(F).” December 18 Letter at 4. In an earlier letter to PHMSA, dated January 7, 2020 (“January 7
Letter”), you also stated that the information falls under FOIA Exemptions 4 and 7(F). 1

After considering all of Sunoco’s objections regarding the release of the redacted information, as
well as the arguments made in the appeals, we have concluded that the information is not covered
1
 In a letter dated December 20, 2019, PHMSA informed you that it had received two FOIA requests for unredacted
versions of the Notice of Probable Violation (NOPV) that PHMSA issued on May 17, 2019 in enforcement action
CPF No. 1-2019-5006, which has been posted in redacted form on PHMSA’s website. We explained that PHMSA
was consulting with Sunoco because Sunoco asserted that the redacted information was confidential.

In accordance with Executive Order 12600 (Pre-disclosure notification procedures for confidential commercial
information) and U.S. Department of Transportation (DOT) FOIA regulations in 49 C.F.R. § 7.29(a) and (b), if DOT
receives a request for a record that includes information designated by the submitter as confidential commercial
information, DOT notifies the submitter and provides the submitter an opportunity to submit any written objections
to release. The agency considers carefully a submitter’s objections and specific grounds for nondisclosure prior to
determining whether to disclose commercial information.
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by FOIA Exemption 4. We have also determined that the redacted information is not covered by
Exemption 7(F), and that PHMSA would choose to exercise its discretion to release the
information even if Sunoco could show that Exemption 7(F) applied.

Accordingly, PHMSA intends to release unredacted copies of the NOPV in response to two FOIA
appeals on July 2, 2021. PHMSA further intends to post an unredacted copy of the NOPV and
this letter on its website on the same date or shortly thereafter.

Background

In 2018, PHMSA performed an inspection of Sunoco’s GRE Flow Reversal/Repurposing Project
on the Mariner East 2 pipeline system. On May 17, 2019, PHMSA issued an NOPV and Proposed
Compliance Order, CPF 1-2019-5006, alleging violations of the pipeline safety regulations.
Specifically, the NOPV alleged that Sunoco violated PHMSA’s public awareness program
regulations by failing to tailor its written public education communication coverage area (Buffer
Area) to its pipeline’s unique attributes and characteristics, location, and potential impact
consequences, in accordance with 49 C.F.R. § 195.440(c).

PHMSA’s public awareness program is designed to educate the public living and working in
proximity to a transmission pipeline of possible hazards associated with unintended releases from
a hazardous liquid pipeline facility. 49 C.F.R. § 195.440(d)(2). When promulgating these
regulations, PHMSA noted that “[p]romoting pipeline safety requires enhanced communications
(by pipeline operators) with the public to increase public awareness of pipeline operations and
safety issues.” 2 Section 195.440(c) requires operators to follow the general program
recommendations, including baseline and supplemental requirements of American Petroleum
Institute Recommended Practice (API RP) 1162, Public Awareness Programs for Pipeline
Operators, unless the operator provides justification in its program or procedural manual as to why
compliance with all or certain provisions of the recommended practice is not practicable and not
necessary for safety.

As evidentiary support for the allegation that Sunoco failed to tailor its public awareness Buffer
Area to fit its particular pipeline, location, and potential impact consequences, PHMSA quoted
three excerpts in its NOPV from two reports Sunoco had provided during the 2018 inspection.
Specifically, on page 4 of the NOPV, PHMSA quoted two sentences from the report, “Hazard
Assessment of the Proposed Mariner East 2 Pipeline” (Mar. 27, 2017) (Stantec Report). Sunoco
marked each page of the Stantec Report as “Proprietary and Confidential Information.”

On page 5 of the NOPV, PHMSA quoted two excerpts (two and three sentences, respectively)
from the report, “Energy Transfer: Mariner East 2 Pipeline Re-Route near Chester and Delaware,
Pennsylvania – Butane Spill Assessment; Final report” (Oct 15, 2018) (Stantec Final
Report). Sunoco marked every page of the Stantec Final Report as “Proprietary and Confidential
Information. Confidential Information not subject to Disclosure to third parties under the
provisions and procedures specified in ‘The Public Utility Confidential Security Information


2
  Pipeline Safety: Pipeline Operator Public Awareness Program, 70 Fed. Reg. 28833, 28833 (May 19, 2005)
(parenthetical in the original).
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Disclosure Protection Act; (35 P.S. §§ 2141.1 to 2141.6) and the PUC’s regulations implementing
such Act at 52 Pa. Code §§ 102.1 – 102.4.”

After Sunoco received the NOPV issued by PHMSA, Sunoco contacted PHMSA expressing
concerns and objecting to PHMSA’s plan to post the NOPV with the quoted information on its
public website. PHMSA and Sunoco discussed the issue in multiple communications.

PHMSA currently makes enforcement information publicly available, in accordance with the
Federal pipeline safety laws at 49 U.S.C. § 60135, through posting certain enforcement documents,
including Notices of Probable Violation, on the agency’s public website. To the extent operator-
submitted information is incorporated into PHMSA’s enforcement documents, that information is
also posted. PHMSA’s public website informs the public of PHMSA’s enforcement program
generally and provides case-specific information, including the basis for any allegations and the
final determination in each enforcement action.

While discussions with Sunoco regarding record sensitivities were ongoing, PHMSA posted a
copy of the NOPV as redacted by Sunoco to ensure timely availability to the public of at least a
portion of it. Subsequently, PHMSA received multiple FOIA requests for the unredacted NOPV.
At that time, PHMSA determined that there was justification to withhold the redacted information
in the NOPV pursuant to FOIA Exemption 4 and denied the FOIA requests. If a record or part of
a record is withheld, requesters may submit appeals to the PHMSA Administrator. 49 C.F.R. §
7.32. On November 13, 2020, PHMSA received a FOIA appeal seeking an unredacted copy of the
NOPV. On December 30, 2020, PHMSA received a second FOIA appeal seeking the same
information. The FOIA appeal process provides an opportunity for the agency to review the initial
decision, taking into account any arguments or facts presented by the requester/appellant,
additional information provided by the submitter (if any), and any relevant information that may
have been missed or applied incorrectly.

After a new review on appeal of the complete FOIA file and case law, PHMSA has determined
that FOIA Exemption 4 does not apply.

FOIA Exemption 4

Exemption 4 of the FOIA authorizes an agency to withhold from disclosure those records that are
“trade secrets and commercial or financial information obtained from a person and privileged or
confidential.” 5 U.S.C. § 552(b)(4). Because a company such as Sunoco is considered a “person”
under FOIA, PHMSA obtained the information from a person. 3 Sunoco does not contend that the
redacted information consists of “trade secrets,” is “financial information,” or is “privileged.” For
the reasons outlined below, moreover, PHMSA finds that the information is not “commercial” or
“confidential.” The information therefore cannot be protected by FOIA Exemption 4.




3
  5 U.S.C. § 551(2) (defining "person" as "an individual, partnership, corporation, association, or public or private
organization other than an agency").
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Commercial Information

Sunoco claims that the redacted information is “confidential commercial information about
[Sunoco’s pipeline] system and hypothetical illustrations of potential impact zones, damage
assessments and casualty assessments.” January 7 Letter at 4. Sunoco states that it has a
“commercial interest in the subject information as it relates to the potential impact of a pipeline
incident on its pipeline system which transports products in interstate and intrastate commerce.”
Id. Sunoco asserts that its commercial interest “arises from the fact that the modeling specifies the
potential for harm to the pipeline system and the public.” Id.

In evaluating whether information is commercial for purposes of Exemption 4, courts have stated
that not all information submitted by a company is necessarily commercial. The D.C. Circuit has
stated, “all information submitted to the government cannot be considered commercial just because
the actor submitting the information is engaged in for-profit business.” See Pub. Citizen Health
Research Grp. v. FDA, 704 F.2d 1280, 1290 (D.C. Cir. 1983). In Center for Investigative
Reporting v. U.S. Department of Labor, 424 F. Supp. 3d 771 (N.D. Cal. 2019), the court stated,
“information is deemed commercial if it relates to the commercial activity of a business, but ‘not
every bit of information submitted to the government by a commercial entity qualifies for
protection.’”

The information that Sunoco wishes to withhold is factual safety information – distance to lower
flammable limit, the maximum predicted distance to thermal radiation consequences, and the
maximum predicted spill – used by and for emergency response. As in Chicago Tribune Co. v.
FAA, No. 97-2363, 1998 WL 242611, at *3 (N.D. Ill. May 7, 1998), a case concerning a request
for airline records of medical incidents, Sunoco’s information is not commercial in nature because
it is factual information developed for emergency response and “do[es] not contain any in-depth
analysis of the [business] in dealing with these incidents.” Additionally, these numerical values or
numbers relate to the well-known physical properties of the natural gas liquids mainly comprised
of propane and butane being transported and the known safety concerns that come from moving
highly volatile liquid. As a regulated pipeline operator, the development of such information is
specifically driven by safety-related compliance obligations under PHMSA’s pipeline safety
regulations. Thus, the information cannot be considered “commercial” for purposes of protection
under FOIA Exemption 4.

Confidential Information

Even if the redacted information were commercial, it could not be protected under Exemption 4
because it is not confidential. To examine whether the information fits within the definition of
“confidential,” PHMSA turned to Food Marketing Institute v. Argus Leader Media, 139 S. Ct.
2356 (2019). In Argus Leader, the Court held that “at least where commercial or financial
information is both customarily and actually treated as private by its owner and provided to the
government under an assurance of privacy, the information is ‘confidential’ within the meaning of
Exemption 4.” 139 S. Ct. at 2366. To evaluate the confidential nature of the information, PHMSA
applied Exemption 4 guidance issued by the Department of Justice (DOJ) following Argus Leader,
available at https://www.justice.gov/oip/exemption-4-after-supreme-courts-ruling-food-marketing-
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institute-v-argus-leader-media;     https://www.justice.gov/oip/step-step-guide-determining-if-
commercial-or-financial-information-obtained-person-confidential.

The DOJ guidance provides three steps to follow to determine if information is “confidential” under
Exemption 4. The information must first meet the threshold requirement that the submitter
“customarily keep the information private or closely-held.” Sunoco asserts that it customarily keeps
the redacted information private or closely-held, and PHMSA assumes for the sake of argument that
this assertion is correct.

Even if the submitter maintains that the information is customarily kept private, the DOJ guidance
provides two additional steps for the agency to evaluate before the information can be found
confidential under Exemption 4. A submitter generally “could not reasonably expect confidentiality
upon submission and so the information is not confidential” if: (1) the government did not “provide
an express or implied assurance of confidentiality when the information was shared with the
government”; and (2) there were “express or implied indications at the time the information was
submitted that the government would publicly disclose the information.” After evaluating these two
additional steps (steps two and three of DOJ’s guidance), PHMSA has determined that the redacted
information is not confidential.

   •   PHMSA did not provide Sunoco an express or implied assurance of confidentiality.

Sunoco argues that PHMSA provided express or implied assurances of confidentiality through
Department of Transportation (DOT) and PHMSA regulations governing the submitter
consultation process, through its 2014 Facility Response Plan Policy, and through historical
practice. January 7 Letter at 6. PHMSA disagrees.

First, neither DOT’s FOIA regulations nor PHMSA’s process for submitters to request
confidential treatment of records under 49 C.F.R. § 190.343 provides express or implied
assurances of confidentiality. The purpose of DOT’s FOIA regulations in 49 C.F.R. § 7.29 is to
inform submitters of the DOT consultation procedures under FOIA that precede the determination
regarding disclosing commercial information. In § 7.29(b), DOT states:

       The responsible DOT component, to the extent permitted by law, considers
       carefully a submitter’s objections and specific grounds for nondisclosure prior to
       determining whether to disclose commercial information.

Likewise, the purpose of 49 C.F.R. § 190.343 is clear. It states that “[w]hen you submit
information to PHMSA during a rulemaking proceeding, as part of your application for special
permit or renewal, or for any other reason, we may make that information publicly available
unless you ask that we keep the information confidential” (emphasis added). The regulation then
proceeds to outline a submittal procedure for requesting confidential treatment, in which case
PHMSA notifies the submitter of the consultation process set forth in 49 C.F.R. § 7.29. In fact,
§ 190.343(b) specifically notes that information may be disclosed over a submitter’s objections.
Therefore, these regulations provide notice to Sunoco that the information may be released and do
not provide any assurance of confidentiality.
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Second, PHMSA’s 2014 policy on Facility Response Plans (oil spill response plans or OSRPs)
does not provide express or implied assurance to operators of confidentiality of the information at
issue. The purpose of the 2014 policy is to “prescribe the policy on the types of information falling
into the four categories of information protected under 49 U.S.C. § 60138 in oil spill response
plans.” By their terms, the 2014 policy and Section 60138 only apply to OSRPs submitted under
49 CFR Part 194. Because the information at issue here was not submitted in an OSRP, neither
the 2014 policy nor Section 60138 is relevant.

Third, although Sunoco argues that PHMSA made an implied assurance of confidentiality through
a historical practice of protecting the information at issue, Sunoco did not provide any examples
showing that PHMSA historically protects such information. In fact, PHMSA has been unable to
identify any instance where it has treated this type of information as confidential. Thus, there is no
historical practice of protecting the information at issue.

   •   There were express or implied indications that PHMSA would disclose the information.

In 2018 when Sunoco submitted the two reports containing the pieces of information that PHMSA
incorporated, there were two separate express or implied indications that PHMSA would disclose
the information to the public.

First, the submission to PHMSA took place prior to the ruling in Argus Leader. At that time, the
governing law provided that if a person was required to provide information to PHMSA, PHMSA
would only treat that information as “confidential” under Exemption 4 if it determined that
disclosure would be likely “to cause substantial harm to the competitive position of the person
from whom the information was obtained” or “to impair the Government’s ability to obtain
necessary information in the future.” People for the Ethical Treatment of Animals v. HHS, 901
F.3d 343, 350 (D.C. Cir. 2018) (quoting Nat’l Parks & Cons. Ass’n v. Morton, 498 F.2d 765, 770
(D.C. Cir. 1974)). Therefore, at the time of submission, there were express or implied indications
that PHMSA would disclose the information unless application of the National Parks standard
compelled confidential treatment.

The National Parks standard would not have compelled confidential treatment: the release of the
redacted information will not cause substantial competitive harm or impair PHMSA’s ability to
obtain necessary information in the future. Prior to Argus Leader, Sunoco did not assert that
Exemption 4 applied, and instead only discussed Exemption 7(F). See Attachment 4 to January 7
Letter (June 5, 2019 email). PHMSA, moreover, is not persuaded by the allegations of harm made
by Sunoco. PHMSA, for example, disagrees with Sunoco’s assertions that the release of the
unredacted NOPV would increase the risk of a hostile action against its pipeline. The information
at issue here, i.e., the distance to the lower flammable limit, the maximum predicted distance to
thermal radiation consequences and the maximum predicted spill extent, is general in nature and
does not identify any particular areas of weakness or points of vulnerability. PHMSA finds that
release of information of general applicability to the entire pipeline does not provide specific
targeting information that could be used by a potential bad actor. The information at issue does
not provide any information that would make Sunoco’s Mariner East 2 pipeline a more attractive
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target than similar HVL pipelines. 4 Indeed, PHMSA is aware that this type of information is
already in the public domain and any person can derive similar results using standard calculations
based on the well-known physical properties of the natural gas liquids, mainly comprised of
propane and butane, being transported. For example, inputting limited pipeline variables into a
publicly-available software product allows any person to calculate similar thermal radiation
consequences. 5 PHMSA has also concluded that Sunoco does not demonstrate substantial
competitive harm by arguing that “disclosure of this information can still harm SPLP’s commercial
interests,” because “third-party actors clearly intend to deploy certain safety-related information
about this project to delay, object to, or interfere with regulatory approvals.” December 18 Letter
at 3. Exemption 4 does not shield pipeline safety information from public view merely because
members of the public might find it relevant to ongoing regulatory proceedings. See Jurewicz v.
USDA, 741 F.3d 1326, 1331 (D.C. Cir. 2014) (“Exemption 4 . . . does not guard against mere
embarrassment in the marketplace or reputational injury.”).

Second, there were express or implied indications that PHMSA would use the information in
enforcement documents. As Sunoco is aware, PHMSA achieves enforcement transparency, in
accordance with the Federal pipeline safety laws at 49 U.S.C. § 60135, through posting certain
enforcement documents, including NOPVs, on the agency’s public website. For more than ten
years, PHMSA has posted operator-submitted information incorporated into PHMSA’s
enforcement documents, a practice that informs all operators (and the public) of PHMSA’s basis
for making an allegation of violation. Thus, Sunoco was aware that at the time the information
was submitted that PHMSA might well disclose the information to the public in the event of a
safety violation.

Because PHMSA did not provide an express or implied assurance of confidentiality, and because
there were indications at the time the information was submitted that PHMSA would publicly
disclose the information, the information cannot be considered “confidential” and therefore could
not be protected under FOIA Exemption 4 even if it were “commercial.” 6


4
  PHMSA’s Office of Pipeline Safety Preparedness, Emergency Support and Security Division has reviewed this
information and does not find that the information, if released, would compromise the security of the pipeline.

5
 In fact, in our research on the public availability of this type of information, PHMSA noted instances where public
sources discuss this type of modeling data. See, e.g., Mark J. Stephens, A Model for Sizing High Consequence Areas
Associated with Natural Gas Pipelines, C-FER Technologies Report 99068 (October 2000) available at
https://pstrust.org/docs/C-FerCircle.pdf (last accessed June 2021). In December 12, 2019 correspondence to PHMSA,
moreover, the FOIA requester, Middletown Coalition for Community Safety (MCCS), states:

         [M]ultiple estimates of these distances are already publicly available from a number of studies
         posted on the MCCS web site, including one assessment completed by the government of Delaware
         County, Pennsylvania, and released publicly in its entirety in December 2018. There are also
         publicly available tools to model these distances, including the software program CANARY,
         available for lease from Quest Consultants of Norman, Oklahoma. Modeling such impacts is a
         matter of materials and physics, and has nothing to do with proprietary trade secrets.
6
  The FOIA Improvement Act of 2016 provides that even if information is covered by a FOIA exemption, an agency
may withhold the information only if “the agency reasonably foresees that disclosure would harm an interest protected
by an exemption” or “disclosure is prohibited by law.” 5 U.S.C. § 552(a)(8)(A). Because PHMSA has determined
that the redacted information is not covered by a FOIA exemption, it does not need to address this provision.
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FOIA Exemption 7(F)

PHMSA has also concluded that Exemption 7(F) does not permit withholding of the unredacted
NOPV. Exemption 7(F) protects law enforcement records, but only to the extent that release of
the records “could reasonably be expected to endanger life or physical safety of any individual.”
In fact, providing this information can reasonably be expected to educate the public on the possible
hazards associated with an unintended release of propane and butane and does not endanger the
life or safety of any individual. This is safety information sought by the public and is used for
emergency response.

PHMSA disagrees that release of this information would endanger the life or physical safety of
any individual. In any event, Exemption 7(F) merely permits agencies to withhold certain
information; it does not require withholding, and PHMSA would make a discretionary release even
if Exemption 7 applied. PHMSA believes that any harm attributable to release of this type of
information is considerably outweighed by the benefit to the public at-large from being able to
better plan emergency response.

Conclusion

Accordingly, PHMSA intends to grant the two FOIA appeals seeking unredacted copies of the
NOPV and provide this record to the appellants on July 2, 2021. PHMSA also intends to post an
unredacted copy of the NOPV and this letter on its website on the same date or shortly thereafter.
Please contact me at phmsachiefcounsel@dot.gov if you intend to seek an injunction before that
date, or if you have questions.


Sincerely,



Vasiliki Tsaganos
Deputy Chief Counsel, Office of Chief Counsel
Pipeline and Hazardous Materials Safety Administration
